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              EXHIBIT 2
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INTRODUCTION


NSO Group claims that its Pegasus spyware is only used to “investigate terrorism and crime” 1 and “leaves no
traces whatsoever”2. This Forensic Methodology Report shows that neither of these statements are true. This
report accompanies the release of the Pegasus Project, a collaborative investigation that involves more than
80 journalists from 17 media organizations in 10 countries coordinated by Forbidden Stories with technical
support of Amnesty International’s Security Lab.3

Amnesty International’s Security Lab has performed in-depth forensic analysis of numerous mobile devices
from human rights defenders (HRDs) and journalists around the world. This research has uncovered
widespread, persistent and ongoing unlawful surveillance and human rights abuses perpetrated using NSO
Group’s Pegasus spyware.

As laid out in the UN Guiding Principles on Business and Human Rights, NSO Group should urgently take
proactive steps to ensure that it does not cause or contribute to human rights abuses within its global
operations, and to respond to any human rights abuses when they do occur. In order to meet that
responsibility, NSO Group must carry out adequate human rights due diligence and take steps to ensure that
HRDs and journalists do not continue to become targets of unlawful surveillance.
In this Forensic Methodology Report, Amnesty International is sharing its methodology and publishing an
open-source mobile forensics tool and detailed technical indicators, in order to assist information security
researchers and civil society with detecting and responding to these serious threats.

This report documents the forensic traces left on iOS and Android devices following targeting with the
Pegasus spyware. This includes forensic records linking recent Pegasus infections back to the 2016
Pegasus payload used to target the HRD Ahmed Mansoor.
The Pegasus attacks detailed in this report and accompanying appendices are from 2014 up to as recently
as July 2021. These also include so-called “zero-click” attacks which do not require any interaction from the
target. Zero-click attacks have been observed since May 2018 and continue until now. Most recently, a
successful “zero-click” attack has been observed exploiting multiple zero-days to attack a fully patched
iPhone 12 running iOS 14.6 in July 2021.

Sections 2 to 9 of this report outline the forensic traces left on mobile devices following a Pegasus infection.
This evidence has been collected from the phones of HRDs and journalists in multiple countries.

Finally, in section 9 the report documents the evolution of the Pegasus network infrastructure since 2016.
NSO Group has redesigned their attack infrastructure by employing multiple layers of domains and servers.
Repeated operational security mistakes have allowed the Amnesty International Security Lab to maintain
continued visibility into this infrastructure. We are publishing a set of 700 Pegasus-related domains.




1
    NSO Group, NSO Group, nsogroup.com.
2
    Pegasus – Product Description, s3.documentcloud.org/documents/4599753/NSO-Pegasus.pdf.
3
 The technical evidence provided in the report includes the forensic research carried out as part of the Pegasus Project as well as
additional Amnesty International Security Lab research carried out since the establishment of the Security Lab in 2018.




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Names of several of the civil society targets in the report have been anonymized for safety and security
reasons. Individuals who have been anonymized have been assigned an alphanumeric code name in this
report.




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1. DISCOVERING
PEGASUS NETWORK
INJECTION ATTACKS



Amnesty International’s technical investigation into NSO Group’s Pegasus intensified following our discovery
of the targeting of an Amnesty International staffer and a Saudi activist, Yahya Assiri, in 2018.4 Amnesty
International’s Security Lab began refining its forensics methodology through the discovery of attacks against
HRDs in Morocco in 2019, which were further corroborated by attacks we discovered against a Moroccan
journalist in 2020.5 In this first section we detail the process which led to the discovery of these
compromises.

Numerous public reports had identified NSO Group’s customers using SMS messages with Pegasus exploit
domains over the years. As a result, similar messages emerged from our analysis of the phone of Moroccan
activist Maati Monjib, who was one of the activists targeted as documented in Amnesty International’s 2019
report.6

However, on further analysis we also noticed suspicious redirects recorded in Safari’s browsing history. For
example, in one case we noticed a redirect to an odd-looking URL after Maati Monjib attempted to visit
Yahoo:

    VISIT                                                                                    REDIRECT          REDIRECT
                 DATE (UTC)                         URL
    ID                                                                                       SOURCE            DESTINATION
    16119        2019-07-22 17:42:32.475            http://yahoo.fr/                         null              16120
    16120        2019-07-22 17:42:32.478            https://bun54l2b67.get1tn0w.f            16119             null
                                                    ree247downloads[.]com:3049
                                                    5/szev4hz


4
 Amnesty International, “Amnesty International among Targets of NSO-powered Campaign”, 1 October 2018,
amnesty.org/en/latest/research/2018/08/amnesty-international-among-targets-of-nso-powered-campaign.
5
 Amnesty International, “Moroccan Journalist Targeted With Network Injection Attacks Using NSO Group’s Tools”, 22 June 2020,
amnesty.org/en/latest/research/2020/06/moroccan-journalist-targeted-with-network-injection-attacks-using-nso-groups-tools.
6
 Amnesty International, “Morocco: Human Rights Defenders Targeted with NSO Group’s Spyware”, 10 October 2019,
amnesty.org/en/latest/research/2019/10/Morocco-Human-Rights-Defenders-Targeted-with-NSO-Groups-Spyware.




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(Please note throughout this document we escaped malicious domains with the marking [.] to prevent
accidental clicks and visits.)
The URL https://bun54l2b67.get1tn0w.free247downloads[.]com:30495/szev4hz immediately appeared
suspicious, particularly because of the presence of a 4th level subdomain, a non-standard high port number,
and a random URI similar to links contained in SMS messages previously documented in connection to NSO
Group’s Pegasus. As you can see in the table above, the visit to Yahoo was immediately redirected to this
suspicious URL with database ID 16120.
In our October 2019 report7, we detail how we determined these redirections to be the result of network
injection attacks performed either through tactical devices, such as rogue cell towers, or through dedicated
equipment placed at the mobile operator. When months later we analysed the iPhone of Moroccan
independent journalist Omar Radi, who as documented in our 2020 report was targeted, we found similar
records involving the free247downloads[.]com domain as well.

In November 2019, after Amnesty International’s initial report, a new domain urlpush[.]net was registered.
We found it subsequently involved in similar redirects to the URL
https://gnyjv1xltx.info8fvhgl3.urlpush[.]net:30875/zrnv5revj.
Although Safari history records are typically short lived and are lost after a few months (as well as potentially
intentionally purged by malware), we have been able to nevertheless find NSO Group’s infection domains in
other databases of Omar Radi’s phone that did not appear in Safari’s History. For example, we could identify
visits through Safari’s Favicon.db database, which was left intact by Pegasus:

    DATE (UTC)          URL                                                ICON URL
    2019-02-11          https://d9z3sz93x5ueidq3.get1tn0w.fre              https://d9z3sz93x5ueidq3.get1tn0w.free247
    14:45:53            e247downloads[.]com:30897/rdEN5YP                  downloads[.]com:30897/favicon.ico
    2019-09-13          https://2far1v4lv8.get1tn0w.free247dow             https://2far1v4lv8.get1tn0w.free247download
    17:01:38            nloads[.]com:31052/meunsnyse#0113                  s[.]com:31052/favicon.ico
                        565702571172968348457040223389
                        73133022433397236
    2019-09-13          https://2far1v4lv8.get1tn0w.free247dow             https://2far1v4lv8.get1tn0w.free247download
    17:01:56            nloads[.]com:31052/meunsnyse#0680                  s[.]com:31052/favicon.ico
                        995616146262785199253586387891
                        61572427833645389
    2020-01-17          https://gnyjv1xltx.info8fvhgl3.urlpush[.]          https://gnyjv1xltx.info8fvhgl3.urlpush[.]net:30
    11:06:32            net:30875/zrnv5revj#07419641982798                 875/favicon.ico
                        791927400154862273891983555674
                        8325946%2324
    2020-01-27          https://gnyjv1xltx.info8fvhgl3.urlpush[.]          https://gnyjv1xltx.info8fvhgl3.urlpush[.]net:30
    11:06:24            net:30875/zrnv5revj#07419641982798                 875/favicon.ico
                        791927400154862273891983555674
                        8325946

As explained in the Technical Appendix of our 2020 report on Pegasus attacks in Morocco8, these redirects
do not only happen when the target is navigating the Internet with the browser app, but also when using
other apps. For example, in one case Amnesty International identified a network injection while Omar Radi
was using the Twitter app. When previewing a link shared in his timeline, the service
com.apple.SafariViewService was invoked to load a Safari WebView, and a redirect occurred.



7
 Amnesty International, “Morocco: Human Rights Defenders Targeted with NSO Group’s Spyware”, 10 October 2019,
amnesty.org/en/latest/research/2019/10/Morocco-Human-Rights-Defenders-Targeted-with-NSO-Groups-Spyware.
8
 Amnesty International, “Moroccan Journalist Targeted With Network Injection Attacks Using NSO Group’s Tools”, 22 June 2020,
amnesty.org/en/latest/research/2020/06/moroccan-journalist-targeted-with-network-injection-attacks-using-nso-groups-tools.




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Because of this, we can find additional records involving the domains free247downloads[.]com and
urlpush[.]net in app-specific WebKit local storage, IndexedDB folders, and more. In multiple cases
IndexedDB files were created by Safari shortly after the network injection redirect to the Pegasus Installation
Server.
In addition, Safari’s Session Resource logs provide additional traces that do not consistently appear in
Safari’s browsing history. It appears Safari does not record full redirect chains and might only keep history
records showing the final page that was loaded. Session Resource logs recovered from the analysed phones
demonstrate that additional staging domains are used as trampolines eventually leading to the infection
servers. In fact, these logs reveal that the very first network injection against Maati Monjib we describe at the
beginning of this post also involved the domain documentpro[.]org:


   REDIRECT
                        ORIGIN                                 REDIRECT DESTINATION
   SOURCE
   yahoo.fr             documentpro[.]org                      free247downloads[.]com

Maati Monjib visited http://yahoo.fr, and a network injection forcefully redirected the browser to
documentpro[.]org before further redirecting to free247downloads[.]com and proceed with the exploitation.
Similarly, on a different occasion Omar Radi visited the website of French newspaper Le Parisien, and a
network injection redirected him through the staging domain tahmilmilafate[.]com and then eventually to
free247downloads[.]com as well. We also saw tahmilmilafate[.]info used in the same way:


   REDIRECT
                        ORIGIN                                 REDIRECT DESTINATION
   SOURCE
   leparisien.fr        tahmilmilafate[.]com                   free247downloads[.]com

In the most recent attempts Amnesty International observed against Omar Radi in January 2020, his phone
was redirected to an exploitation page at gnyjv1xltx.info8fvhgl3.urlpush[.]net passing through the domain
baramije[.]net. The domain baramije[.]net was registered one day before urlpush[.]net, and a decoy website
was set up using the open source Textpattern CMS.
Traces of network activity were not the only available indicators of compromise, and further inspection of the
iPhones revealed executed processes which eventually led to the establishment of a consistent pattern
unique to all subsequent iPhones that Amnesty International analysed and found to be infected.




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2. PEGASUS’
BRIDGEHEAD AND OTHER
MALICIOUS PROCESSES
APPEAR


Amnesty International, Citizen Lab, and others have primarily attributed Pegasus spyware attacks based on
the domain names and other network infrastructure used to deliver the attacks. However, forensic evidence
left behind by the Pegasus spyware provides another independent way to attribute these attacks to NSO
Group’s technology.

iOS maintains records of process executions and their respective network usage in two SQLite database files
called “DataUsage.sqlite” and “netusage.sqlite” which are stored on the device. It is worth noting that while
the former is available in iTunes backup, the latter is not. Additionally, it should be noted that only processes
that performed network activity will appear in these databases.

Both Maati Monjib’s and Omar Radi’s network usage databases contained records of a suspicious process
called “bh”. This “bh” process was observed on multiple occasions immediately following visits to Pegasus
Installation domains.

Maati Monjib’s phone has records of execution of “bh” from April 2018 until March 2019:

                                                 PROCESS                           WWAN            PROCESS
   FIST DATE (UTC)           LAST DATE (UTC)                         WWAN IN
                                                 NAME                              OUT             ID
   2018-04-29                2019-03-27          bh                  3319875.0     144443.0        59472
   00:25:12                  22:45:10

Amnesty International found similar records on Omar Radi’s phone between February and September 2019:

                                                 PROCESS                           WWAN            PROCESS
   FIST DATE (UTC)           LAST DATE (UTC)                         WWAN IN
                                                 NAME                              OUT             ID
   2019-02-11                2019-09-13          bh                  3019409.0     147684.0        50465
   14:45:56                  17:02:11


The last recorded execution of “bh” occurred a few seconds after a successful network injection (as seen in
the favicon records listed earlier at 2019-09-13 17:01:56).




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Crucially, we find references to “bh” in the Pegasus iOS sample recovered from the 2016 attacks against
UAE human rights defender Ahmed Mansoor, discovered by Citizen Lab9 and analysed in depth by
cybersecurity firm Lookout10.
As described in Lookout’s analysis, in 2016 NSO Group leveraged a vulnerability in the iOS JavaScriptCore
Binary (jsc) to achieve code execution on the device. This same vulnerability was also used to maintain
persistence on the device after reboot. We find references to “bh” throughout the exploit code:

               var compressed_bh_addr = shellcode_addr_aligned + shellcode32.byteLength;
               replacePEMagics(shellcode32, dlsym_addr, compressed_bh_addr,
               bundle.bhCompressedByteLength); storeU32Array(shellcode32, shellcode_addr);
               storeU32Array(bundle.bhCompressed32, compressed_bh_addr);


This module is described in Lookout’s analysis as follows:

             “bh.c - Loads API functions that relate to the decompression of next stage payloads and their proper
             placement on the victim’s iPhone by using functions such as BZ2_bzDecompress, chmod, and malloc.”
Lookout further explains that a configuration file located at /var/tmp/jb_cfg is dropped alongside the binary.
Interestingly, we find the path to this file exported as _kBridgeHeadConfigurationFilePath in the
libaudio.dylib file part of the Pegasus bundle:

              __const:0001AFCC                      EXPORT _kBridgeHeadConfigurationFilePath
              __const:0001AFCC _kBridgeHeadConfigurationFilePath DCD cfstr_VarTmpJb_cfg
              ; "/var/tmp/jb_cfg"


Therefore, we suspect that “bh” might stand for “BridgeHead”, which is likely the internal name assigned by
NSO Group to this component of their toolkit.
The appearance of the “bh” process right after the successful network injection of Omar Radi’s phone is
consistent with the evident purpose of the BridgeHead module. It completes the browser exploitation, roots
the device and prepares for its infection with the full Pegasus suite.



2.1 ADDITIONAL SUSPICIOUS PROCESSES FOLLOWING
    BRIDGEHEAD
The bh process first appeared on Omar Radi’s phone on 11 February 2019. This occurred 10 seconds after
an IndexedDB file was created by the Pegasus Installation Server and a favicon entry was recorded by Safari.
At around the same time the com.apple.CrashReporter.plist file was written in
/private/var/root/Library/Preferences/, likely to disable reporting of crash logs back to Apple. The exploit chain
had obtained root permission at this stage.

Less than a minute later a “roleaboutd” process first appears.

     DATE (UTC)                    EVENT
     2019-02-11 14:45:45           IndexedDB record for URL
                                   https_d9z3sz93x5ueidq3.get1tn0w.free247downloads.com_30897/
     2019-02-11 14:45:53           Safari Favicon record for URL
                                   hxxps//d9z3sz93x5ueidq3.get1tn0w.free247downloads[.]com:30897/rdEN5YP
     2019-02-11 14:45:54           Crash reporter disabled by writing com.apple.CrashReporter.plist
     2019-02-11 14:45:56           Process: bh

9
 Bill Marczak and John Scott-Railton, “The Million Dollar Dissident: NSO Group’s iPhone Zero-Days used against a UAE Human Rights
Defender”, Citizen Lab, 24 August 2016, citizenlab.ca/2016/08/million-dollar-dissident-iphone-zero-day-nso-group-uae.
10
  Lookout, Technical Analysis of the Pegasus Exploits on iOS, n.d., https://info.lookout.com/rs/051-ESQ-475/images/pegasus-exploits-
technical-details.pdf.




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 DATE (UTC)                        EVENT
 2019-02-11 14:46:23               Process: roleaboutd first
 2019-02-11 17:05:24               Process: roleaboutd last

Omar Radi’s device was exploited again on the 13 September 2019. Again a “bh” process started shortly
afterwards. Around this time the com.apple.softwareupdateservicesd.plist file was modified. A “msgacntd”
process was also launched.

 DATE (UTC)                        EVENT
 2019-09-13 17:01:38               Safari Favicon record for URL
                                   hxxps://2far1v4lv8.get1tn0w.free247downloads[.]com:31052/meunsnyse
 2019-09-13 17:02:11               Process: bh
 2019-09-13 17:02:33               Process: msgacntd first
 2019-09-13 17:02:35               File modified: com.apple.softwareupdateservicesd.plist
 2019-09-14 20:51:54               Process: msgacntd last

Based on the timing and context of exploitation, Amnesty International believes the roleaboutd and
msgacntd processes are a later stage of the Pegasus spyware which was loaded after a successful
exploitation and privilege escalation with the BridgeHead payload.
Similarly, the forensic analysis of Maati Monjib’s phone revealed the execution of more suspicious processes
in addition to bh. A process named pcsd and one named fmld appeared in 2018:

                                              PROCESS
   FIST DATE            LAST DATE                              WWAN IN           WWAN OUT    PROCESS ID
                                              NAME
   2018-05-04           2018-05-04            pcsd             12305.0           10173.0     14946
   23:30:45             23:30:45
   2018-05-21           2018-06-4             fmld             0.0               188326.0    21207
   23:46:06             13:05:43

Amnesty International verified that no legitimate binaries of the same names were distributed in recent
versions of iOS.
The discovery of these processes on Omar Radi’s and Maati Monjib’s phones later became instrumental for
Amnesty International’s continued investigations, as we found processes with the same names on devices of
targeted individuals from around the world.




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3. PEGASUS PROCESSES
FOLLOWING POTENTIAL
APPLE PHOTOS
EXPLOITATION


During Amnesty International’s investigations as part of The Pegasus Project we discovered additional cases
where the above mentioned “bh” process was recorded on devices compromised through different attack
vectors.

In one instance, the phone of a French human rights lawyer (CODE: FRHRL1) was compromised and the
“bh” process was executed seconds after network traffic for the iOS Photos app
(com.apple.mobileslideshow) was recorded for the first time. Again, after a successful exploitation, crash
reporting was disabled by writing a com.apple.CrashReporter.plist file to the device.

                 DATE (UTC)            EVENT
                 2019-10-29 09:04:32   Process: mobileslideshow/com.apple.mobileslideshow first
                 2019-10-29 09:04:58   Process: bh
                 2019-10-29 09:05:08   com.apple.CrashReporter.plist dropped
                 2019-10-29 09:05:53   Process: mptbd

The next and last time network activity for the iOS Photos app was recorded was on 18 December 2019,
again preceding the execution of malicious processes on the device.

                 DATE (UTC)            EVENT
                 2019-12-18 08:13:33   Process: mobileslideshow/com.apple.mobileslideshow last
                 2019-12-18 08:13:47   Process: bh
                 2019-12-18 11:50:15   Process: ckeblld

In a separate case, we identified a similar pattern with the “mobileslideshow” and “bh” processes on the
iPhone of a French journalist (CODE: FRJRN1) in May 2020:




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                 DATE (UTC)            EVENT
                 2019-12-18 08:13:33   Process: mobileslideshow/com.apple.mobileslideshow last
                 2020-05-24 15:44:21   Process: mobileslideshow/com.apple.mobileslideshow first
                 2020-05-24 15:44:39   Process: bh
                 2020-05-24 15:46:51   Process: fservernetd
                                       ...
                 2020-05-27 16:58:31   Process: mobileslideshow/com.apple.mobileslideshow last
                 2020-05-27 16:58:52   Process: bh

Amnesty International was not able to capture payloads related this exploitation but suspects that the iOS
Photos app or the Photostream service were used as part of an exploit chain to deploy Pegasus. The apps
themselves may have been exploited or their functionality misused to deliver a more traditional JavaScript or
browser exploit to the device.

As you can see from the tables above, additional process names such as mptbd, ckeblld, fservernetd, and
ckkeyrollfd appear right after bh. As with fmld and pcsd, Amnesty International believes these to be
additional payloads downloaded and executed after a successful compromise. As our investigations
progressed, we identified dozens of malicious process names involved in Pegasus infections.

Additionally, Amnesty International found the same iCloud account bogaardlisa803[@]gmail.com recorded
as linked to the “com.apple.private.alloy.photostream” service on both devices. Purposefully created iCloud
accounts seem to be central to the delivery of multiple “zero-click” attack vectors in many recent cases of
compromised devices analysed by Amnesty International.




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4. AN iMESSAGE ZERO-
CLICK 0DAY USED
WIDELY IN 2019


While SMS messages carrying malicious links were the tactic of choice for NSO Group’s customers between
2016 and 2018, in more recent years they appear to have become increasingly rare. The discovery of
network injection attacks in Morocco signalled that the attackers’ tactics were indeed changing. Network
injection is an effective and cost-efficient attack vector for domestic use especially in countries with leverage
over mobile operators. However, while it is only effective on domestic networks, the targeting of foreign
targets or of individuals in diaspora communities also changed.

From 2019 an increasing amount of vulnerabilities in iOS, especially iMessage and FaceTime, started getting
patched thanks to their discoveries by vulnerability researchers, or to cybersecurity vendors reporting
exploits discovered in-the-wild.

In response, Amnesty International extended its forensic methodology to collect any relevant traces by
iMessage and FaceTime. iOS keeps a record of Apple IDs seen by each installed application in a plist file
located at /private/var/mobile/Library/Preferences/com.apple.identityservices.idstatuscache.plist. This file is
also typically available in a regular iTunes backup, so it can be easily extracted without the need of a
jailbreak.

These records played critical role in later investigations. In many cases we discovered suspected Pegasus
processes executed on devices immediately following suspicious iMessage account lookups. For example,
the following records were extracted from the phone of a French journalist (CODE FRJRN2):

   DATE (UTC)                      EVENT
   2019-06-16 12:08:44             Lookup of bergers.o79@gmail.com by com.apple.madrid (iMessage)
   2019-08-16 12:33:52             Lookup of bergers.o79@gmail\x00\x00om by com.apple.madrid (iMessage)
   2019-08-16 12:37:55             The file Library/Preferences/com.apple.CrashReporter.plist is created within
                                   RootDomain
   2019-08-16 12:41:25             The file Library/Preferences/roleaccountd.plist is created within RootDomain
   2019-08-16 12:41:36             Process: roleaccountd

Amnesty International’s forensic analysis of multiple devices found similar records. In many cases the same
iMessage account reoccurs across multiple targeted devices, potentially indicating that those devices have
been targeted by the same operator. Additionally, the processes roleaccountd and stagingd occur
consistently, along with others.



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For example, the iPhone of a Hungarian journalist (CODE HUJRN1) instead showed the following records:

   DATE (UTC)                      EVENT
   2019-09-24 13:26:15             Lookup of jessicadavies1345@outlook.com by com.apple.madrid (iMessage)
   2019-09-24 13:26:51             Lookup of emmadavies8266@gmail.com by com.apple.madrid (iMessage)
   2019-09-24 13:32:10             Process: roleaccountd
   2019-09-24 13:32:13             Process: stagingd

In this case, the first suspicious processes performing some network activity were recorded 5 minutes after
the first lookup. The com.apple.CrashReporter.plist file was already present on this device after a previous
successful infection and was not written again.

The iPhone of yet another Hungarian journalist (CODE HUJRN2) show lookups for the same iMessage
accounts along with numerous other processes along with roleaccountd and stagingd:

 DATE (UTC)                        EVENT
 2019-07-15 12:01:37               Lookup of mailto:e\x00\x00adavies8266@gmail.com by com.apple.madrid
                                   (iMessage)
 2019-07-15 14:21:40               Process: accountpfd
 2019-08-29 10:57:43               Process: roleaccountd
 2019-08-29 10:57:44               Process: staging
 2019-08-29 10:58:35               Process: launchrexd
 2019-09-03 07:54:26               Process: roleaccountd
 2019-09-03 07:54:28               Process: stagingd
 2019-09-03 07:54:51               Process: seraccountd
 2019-09-05 13:26:38               Process: seraccountd
 2019-09-05 13:26:55               Process: misbrigd
 2019-09-10 06:09:04               Lookup of emmadavies8266@gmail.com by com.apple.madrid (iMessage)
 2019-09-10 06:09:47               Lookup of jessicadavies1345@outlook.com by com.apple.madrid (iMessage)
 2019-10-30 14:09:51               Process: nehelprd
 2019-09-05 13:26:38               Process: seraccountd

It is interesting to note that in the traces Amnesty International recovered from 2019, the iMessage lookups
that immediately preceded the execution of suspicious processes often contained two-bytes 0x00 padding in
the email address recorded by the ID Status Cache file.




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5. APPLE MUSIC
LEVERAGED TO DELIVER
PEGASUS IN 2020


In mid-2021 Amnesty International identified yet another case of a prominent investigative journalist from
Azerbaijan (CODE AZJRN1) who was repeatedly targeted using Pegasus zero-click attacks from 2019 until
mid-2021.

Yet again, we found a similar pattern of forensic traces on the device following the first recorded successful
exploitation:

 DATE (UTC)                        EVENT
 2019-03-28 07:43:14               File: Library/Preferences/com.apple.CrashReporter.plist from RootDomain
 2019-03-28 07:44:03               File: Library/Preferences/roleaccountd.plist from RootDomain
 2019-03-28 07:44:14               Process: roleaccountd
 2019-03-28 07:44:14               Process: stagingd

Interestingly we found signs of a new iOS infection technique being used to compromise this device. A
successful infection occurred on 10th July 2020:

 DATE (UTC)             EVENT
 2020-07-06             Lookup of f\x00\x00ip.bl82@gmail.com by iMessage (com.apple.madrid)
 05:22:21
 2020-07-10             Pegasus request by Apple Music app:
 14:12:09               https://x1znqjo0x8b8j.php78mp9v.opposedarrangement[.]net:37271/afAVt89Wq/stadi
                        um/pop2.html?key=501_4&n=7

 2020-07-10             Process: roleaccountd
 14:12:21
 2020-07-10             Process: stagingd
 14:12:53
 2020-07-13             Pegasus request by Apple Music app:
 05:05:17               https://4n3d9ca2st.
                        php78mp9v.opposedarrangement[.]net:37891/w58Xp5Z/stadium/pop2.html?key=501
                        _4&n=7




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Shortly before Pegasus was launched on the device, we saw network traffic recorded for the Apple Music
service. These HTTP requests were recovered from a network cache file located at
/private/var/mobile/Containers/Data/Application/D6A69566-55F7-4757-96DE-
EBA612685272/Library/Caches/com.apple.Music/Cache.db which we retrieved by jailbreaking the device.

Amnesty International cannot determine from forensics if Apple Music was itself exploited to deliver the initial
infection or if instead, the app was abused as part of a sandbox escape and privilege escalation chain.
Recent research11 has shown that built-in apps such as the iTunes Store app can be abused to run a
browser exploit while escaping the restrictive Safari application sandbox.

Most importantly however, the HTTP request performed by the Apple Music app points to the domain
opposedarrangement[.]net, which we had previously identified as belonging to NSO Group’s Pegasus
network infrastructure. This domain matched a distinctive fingerprint we devised while conducting Internet-
wide scans following our discovery of the network injection attacks in Morocco (see section 9).

In addition, these URLs show peculiar characteristics typical of other URLs we found involved in Pegasus
attacks through the years, as explained in the next section.




11
     Mistune: Remote code execution vulnerabilities that have been hiding for a decade, blog.chichou.me/mistune.




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6. MEGALODON:
IMESSAGE ZERO-CLICK 0-
DAYS RETURN IN 2021


The analysis Amnesty International conducted of several devices reveal traces of attacks similar to those we
observed in 2019. These attacks have been observed as recently as July 2021. Amnesty International
believes Pegasus is currently being delivered through zero-click exploits which remain functional through the
latest available version of iOS at the time of writing (July 2021).

On the iPhone of a French human rights lawyer (CODE FRHRL2), we observed a lookup of a suspicious
iMessage account unknown to the victim, followed by an HTTP request performed by the
com.apple.coretelephony process. This is a component of iOS involved in all telephony-related tasks and
likely among those exploited in this attack. We found traces of this HTTP request in a cache file stored on
disk at /private/var/wireless/Library/Caches/com.apple.coretelephony/Cache.db containing metadata on the
request and the response. The phone sent information on the device including the model 9,1 (iPhone 7) and
iOS build number 18C66 (version 14.3) to a service fronted by Amazon CloudFront, suggesting NSO Group
has switched to using AWS services in recent months. At the time of this attack, the newer iOS version 14.4
had only been released for a couple of weeks.

   DATE (UTC)           EVENT
   2021-02-08           Lookup of linakeller2203@gmail.com by iMessage (com.apple.madrid)
   10:42:40
   2021-02-08           com.apple.coretelephony performs an HTTP request to
   11:27:10             https://d38j2563clgblt.cloudfront[.]net/fV2GsPXgW//stadium/megalodon?m=iPhone9,1&v=18C66
   2021-02-08           Process: gatekeeperd
   11:27:21
   2021-02-08           gatekeeperd performs an HTTP request to
   11:27:22             https://d38j2563clgblt.cloudfront.net/fV2GsPXgW//stadium/wizard/01-00000000
   2021-02-08           Process: gatekeeperd
   11:27:23

The Cache.db file for com.apple.coretelephony contains details about the HTTP response which appeared to
have been a download of ~250kb of binary data. Indeed, we found the downloaded binary in the
fsCachedData sub-folder, but it was unfortunately encrypted. Amnesty International believes this to be the
payload launched as gatekeeperd.




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Amnesty International subsequently analysed the iPhone of a journalist (CODE MOJRN1), which contained
very similar records. This device was exploited repeatedly on numerous times between February and April
2021 and across iOS releases. The most recent attempt showed the following indicators of compromise:


   DATE (UTC)           EVENT

   2021-04-02           Lookup of linakeller2203@gmail.com by iMessage (com.apple.madrid)
   10:15:38
   2021-04-02           com.apple.coretelephony performs an HTTP request to
   10:36:00             https://d38j2563clgblt.cloudfront[.]net/dMx1hpK//stadium/megalodon?m=iPhone8,1&v=
                        18D52&u=[REDACTED]
   2021-04-02           Process PDPDialogs performs an HTTP request to
   10:36:08             https://d38j2563clgblt.cloudfront[.]net/dMx1hpK//stadium/wizard/ttjuk
   2021-04-02           Process PDPDialogs performs an HTTP request to
   10:36:16             https://d38j2563clgblt.cloudfront[.]net/dMx1hpK//stadium/wizard/01-00000000
   2021-04-02           com.apple.coretelephony performs an HTTP request to
   10:36:16             https://d38j2563clgblt.cloudfront[.]net/dMx1hpK//stadium/wizard/cszjcft=frzaslm
   2021-04-02           Process: gatekeeperd
   10:36:35
   2021-04-02           Process: rolexd
   10:36:45

As is evident, the same iMessage account observed in the previous separate case was involved in this
exploitation and compromise months later. The same CloudFront website was contacted by
com.apple.coretelephony and the additional processes executed, downloaded and launched additional
malicious components.

The initial check-in indicates the compromised iPhone 6s was running iOS 14.4 (build number 18D52) at
the time of the attack. Although versions 14.4.1 and 14.4.2 were already available then, they only addressed
vulnerabilities in WebKit, so it is safe to assume the vulnerability leveraged in these iMessage attacks was
exploited as a 0-day.

It is worth noting that among the many other malicious process names observed executed on this phone we
see msgacntd, which we also found running on Omar Radi’s phone in 2019, as documented earlier.

In addition, it should be noted that the URLs we have observed used in attacks throughout the last three
years show a consistent set of patterns. This supports Amnesty International’s analysis that all three URLs
are in fact components of Pegasus customer attack infrastructure. The Apple Music attack from 2020 shows
the same 4th level domain structure and non-standard high port number as the 2019 network injection
attack. Both the free247downloads[.]com and opposedarrangements[.]net domains matched our Pegasus
V4 domain fingerprint.

Additionally, the Apple Music attack URL and the 2021 Megaladon attack URLs share a distinctive pattern.
Both URL paths start with a random identifier tied to the attack attempt followed by the word "stadium”.

 ATTACK                      URL
 NETWORK                     https://2far1v4lv8.get1tn0w.free247downloads[.]com:31052/meunsnyse
 INJECTION (2019)
 APPLE MUSIC                 https://4n3d9ca2st.php78mp9v.opposedarrangement[.]net:37891/w58Xp5Z/stadiu
 ATTACK (2020)               m/pop2.html?key=501_4&n=7
 IMESSAGE ZERO-              https://d38j2563clgblt.cloudfront[.]net/dMx1hpK//stadium/wizard/ttjuk
 CLICK (2021)




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Amnesty International reported this information to Amazon, who informed us they “acted quickly to shut
down the implicated infrastructure and accounts”.12

The iPhone 11 of a French human rights activist (CODE FRHRD1) also showed an iMessage look-up for the
account linakeller2203[@]gmail.com on 11 June 2021 and malicious processes afterwards. The phone was
running iOS 14.4.2 and was upgraded to 14.6 the following day.

Most recently, Amnesty International has observed evidence of compromise of the iPhone XR of an Indian
journalist (CODE INJRN1) running iOS 14.6 (latest available at the time of writing) as recently as 16 June
2021. Lastly, Amnesty International has confirmed an active infection of the iPhone X of an activist (CODE
RWHRD1) on 24 June 2021, also running iOS 14.6. While we have not been able to extract records from
Cache.db databases due to the inability to jailbreak these two devices, additional diagnostic data extracted
from these iPhones show numerous iMessage push notifications immediately preceding the execution of
Pegasus processes.

The device of a Rwandan activist (CODE RWHRD1) shows evidence of multiple successful zero-click
infections in May and June 2021. We can see one example of this on 17 May 2021. An unfamiliar iMessage
account is recorded and in the following minutes at least 20 iMessage attachment chunks are created on
disk.

     DATE (UTC)          EVENT
     2021-05-17
                         Lookup for iCloud account benjiburns8[@]gmail.com (iMessage)
     13:39:16
     2021-05-17          File: /private/var/mobile/Library/SMS/Attachments/dc/12/DEAE6789-0AC4-41A9-A91C-
     13:40:12            5A9086E406A5/.eBDOuIN1wq.gif-2hN9
     2021-05-17          File: /private/var/mobile/Library/SMS/Attachments/41/01/D146B32E-CA53-41C5-BF61-
     13:40:21            55E0FA6F5FF3/.TJi3fIbHYN.gif-bMJq
     ...                 ...
     2021-05-17          File: /private/var/mobile/Library/SMS/Attachments/42/02/45F922B7-E819-4B88-B79A-
     13:44:19            0FEE289701EE/.v74ViRNkCG.gif-V678

Amnesty International found no evidence that the 17 May attack was successful. Later attacks on the 18
June and 23 June were successful and led to Pegasus payloads being deployed on the device.

Initially, many iMessage (com.apple.madrid) push notifications were received, and attachment chunks were
written to disk. The following table show a sample of the 48 attachment files found on the filesystem.

       DATE (UTC)                               EVENT
       2021-06-23 20:45:00                      8 push notifications for topic com.apple.madrid (iMessage)
       2021-06-23 20:46:00                      46 push notifications for topic com.apple.madrid (iMessage)
       2021-06-23 20:46:19                      File: /private/var/tmp/com.apple.messages/F803EEC3-AB3A-
                                                4DC2-A5F1-9E39D7A509BB/.cs/ChunkStoreDatabase
       2021-06-23 20:46:20                      File:
                                                /private/var/mobile/Library/SMS/Attachments/77/07/4DFA8939-
                                                EE64-4CB5-A111-B75733F603A2/.8HfhwBP5qJ.gif-u0zD
       ...                                      ...
       2021-06-23 20:53:00                      17 push notifications for topic com.apple.madrid (iMessage)
       2021-06-23 20:53:54                      File: /private/var/tmp/com.apple.messages/50439EF9-750C-
                                                4449-B7FC-851F28BD3BD3/.cs/ChunkStoreDatabase

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     Email to Amnesty International, May 2021




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   DATE (UTC)                                     EVENT
   2021-06-23 20:53:54                            File:
                                                  /private/var/mobile/Library/SMS/Attachments/36/06/AA10C840-
                                                  1776-4A51-A547-BE78A3754773/.7bb9OMWUa8.gif-UAPo
   2021-06-23 20:54:00                            54 push notifications for topic com.apple.madrid (iMessage)

A process crash occurred at 20:48:56 which resulted in the ReportCrash process starting followed by
restarts of multiple processes related to iMessage processing:

             DATE (UTC)                   EVENT
             2021-06-23 20:48:56          Process with PID 1192 and name ReportCrash
             2021-06-23 20:48:56          Process with PID 1190 and name IMTransferAgent
             2021-06-23 20:48:56          Process with PID 1153 and name SCHelper
             2021-06-23 20:48:56          Process with PID 1151 and name CategoriesService
             2021-06-23 20:48:56          Process with PID 1147 and name MessagesBlastDoorService
             2021-06-23 20:48:56          Process with PID 1145 and name NotificationService

A second set of crashes and restarts happened five minutes later. The ReportCrash process was started
along with processes related to parsing of iMessage content and iMessage custom avatars.

         DATE (UTC)                    EVENT
         2021-06-23 20:54:16           Process with PID 1280 and name ReportCrash
         2021-06-23 20:54:16           Process with PID 1278 and name IMTransferAgent
         2021-06-23 20:54:16           Process with PID 1266 and name com.apple.WebKit.WebContent
         2021-06-23 20:54:16           Process with PID 1263 and name com.apple.accessibility.mediaac
         2021-06-23 20:54:16           Process with PID 1262 and name CategoriesService
         2021-06-23 20:54:16           Process with PID 1261 and name com.apple.WebKit.Networking
         2021-06-23 20:54:16           Process with PID 1239 and name avatarsd

Shortly afterwards at 20:54 the exploitation succeeded, and we observe that a network request was made by
the com.apple.coretelephony process causing the Cache.db file to be modified. This matches the behaviour
Amnesty International has seen in the other Pegasus zero-click attacks in 2021.

 DATE (UTC)             EVENT
 2021-06-23             File: /private/var/wireless/Library/Caches/com.apple.coretelephony/Cache.db-shm
 20:54:35
 2021-06-23             File:
 20:54:35               /private/var/wireless/Library/Caches/com.apple.coretelephony/fsCachedData/3C73213F-
                        73E5-4429-AAD9-0D7AD9AE83D1
 2021-06-23             File: /private/var/root/Library/Caches/appccntd/Cache.db
 20:54:47
 2021-06-23             File: /private/var/tmp/XtYaXXY
 20:54:53
 2021-06-23             File: /private/var/tmp/CFNetworkDownload_JQeZFF.tmp
 20:55:08
 2021-06-23             File: /private/var/tmp/PWg6ueAldsvV8vZ8CYpkp53D
 20:55:09




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     DATE (UTC)           EVENT
     2021-06-23           File: /private/var/db/com.apple.xpc.roleaccountd.staging/otpgrefd
     20:55:10
     2021-06-23           File: /private/var/tmp/vditcfwheovjf/kk
     20:55:10
     2021-06-23           Process: appccntd
     20:59:35
     2021-06-23           Process: otpgrefd
     20:59:35

Lastly, the analysis of a fully patched iPhone 12 running iOS 14.6 of an Indian journalist (CODE INJRN2)
also revealed signs of successful compromise. These most recent discoveries indicate NSO Group’s
customers are currently able to remotely compromise all recent iPhone models and versions of iOS.

We have reported this information to Apple, who informed us they are investigating the matter.13




13
     Email to Amnesty International, July 2021.




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7. INCOMPLETE
ATTEMPTS TO HIDE
EVIDENCE OF
COMPROMISE


Several iPhones Amnesty International has inspected indicate that Pegasus has recently started to
manipulate system databases and records on infected devices to hide its traces and impede the research
efforts of Amnesty International and other investigators.

Interestingly, this manipulation becomes evident when verifying the consistency of leftover records in the
DataUsage.sqlite and netusage.sqlite SQLite databases. Pegasus has deleted the names of malicious
processes from the ZPROCESS table in DataUsage database but not the corresponding entries from the
ZLIVEUSAGE table. The ZPROCESS table stores rows containing a process ID and the process name. The
ZLIVEUSAGE table contains a row for each running process including data transfer volume and the process
ID corresponding to the ZPROCESS entry. These inconsistencies can be useful in identifying times when
infections may have occurred. Additional Pegasus indicators of compromise were observed on all devices
where this anomaly was observed. No similar inconsistencies were found on any clean iPhones analysed by
Amnesty International.

Although most recent records are now being deleted from these databases, traces of recent process
executions can also be recovered also from additional diagnostic logs from the system.

For example, the following records were recovered from the phone of an HRD (CODE RWHRD1):

                        DATE (UTC)            EVENT
                        2021-01-31 23:59:02   Process: libtouchregd (PID 7354)
                        2021-02-21 23:10:09   Process: mptbd (PID 5663)
                        2021-02-21 23:10:09   Process: launchrexd (PID 4634)
                        2021-03-21 06:06:45   Process: roleaboutd (PID 12645)
                        2021-03-28 00:36:43   Process: otpgrefd (PID 2786)
                        2021-04-06 21:29:56   Process: locserviced (PID 5492)
                        2021-04-23 01:48:56   Process: eventfssd (PID 4276)
                        2021-04-23 23:01:44   Process: aggregatenotd (PID 1900)



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                        DATE (UTC)                  EVENT
                        2021-04-28 16:08:40         Process: xpccfd (PID 1218)
                        2021-06-14 00:17:12         Process: faskeepd (PID 4427)
                        2021-06-14 00:17:12         Process: lobbrogd (PID 4426)
                        2021-06-14 00:17:12         Process: neagentd (PID 4423)
                        2021-06-14 00:17:12         Process: com.apple.rapports.events (PID 4421)
                        2021-06-18 08:13:35         Process: faskeepd (PID 4427)
                        2021-06-18 15:31:12         Process: launchrexd (PID 1169)
                        2021-06-18 15:31:12         Process: frtipd (PID 1168)
                        2021-06-18 15:31:12         Process: ReminderIntentsUIExtension (PID 1165)
                        2021-06-23 14:31:39         Process: launchrexd (PID 1169)
                        2021-06-23 20:59:35         Process: otpgrefd (PID 1301)
                        2021-06-23 20:59:35         Process: launchafd (PID 1300)
                        2021-06-23 20:59:35         Process: vm_stats (PID 1294)
                        2021-06-24 12:24:29         Process: otpgrefd (PID 1301)

System log files also reveal the location of Pegasus binaries on disk. These file names match those we have
consistently observed in the process execution logs presented earlier. The binaries are located inside the
folder /private/var/db/com.apple.xpc.roleaccountd.staging/ which is consistent with the findings by Citizen
Lab in a December 2020 report.14

     /private/var/db/com.apple.xpc.roleaccountd.staging/launchrexd/EACA3532-7D15-32EE-A88A-
     96989F9F558A

Amnesty International’s investigations, corroborated by secondary information we have received, seem to
suggest that Pegasus is no longer maintaining persistence on iOS devices. Therefore, binary payloads
associated with these processes are not recoverable from the non-volatile filesystem. Instead, one would
need to be able to jailbreak the device without reboot, and attempt to extract payloads from memory.




 Bill Marczak and others, The Great iPwn: Journalists Hacked with Suspected NSO Group iMessage ‘Zero-Click’ Exploit, Citizen Lab, 20
14

December 2020, citizenlab.ca/2020/12/the-great-ipwn-journalists-hacked-with-suspected-nso-group-imessage-zero-click-exploit.




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8. PEGASUS PROCESSES
DISGUISED AS iOS
SYSTEM SERVICES


Across the numerous forensic analyses conducted by Amnesty International on devices around the world,
we found a consistent set of malicious process names executed on compromised phones. While some
processes, for example bh, seem to be unique to a particular attack vector, most Pegasus process names
seem to be simply disguised to appear as legitimate iOS system processes, perhaps to fool forensic
investigators inspecting logs.

Several of these process names spoof legitimate iOS binaries:

                        PEGASUS PROCESS NAME               SPOOFED iOS BINARY
                        ABSCarryLog                        ASPCarryLog
                        aggregatenotd                      aggregated
                        ckkeyrollfd                        ckkeyrolld
                        com.apple.Mappit.SnapshotService   com.apple.MapKit.SnapshotService
                        com.apple.rapports.events          com.apple.rapport.events
                        CommsCenterRootHelper              CommCenterRootHelper
                        Diagnostic-2543                    Diagnostic-2532
                        Diagnosticd                        Diagnostics
                        eventsfssd                         fseventsd
                        fmld                               fmfd
                        JarvisPluginMgr                    JarvisPlugin
                        launchafd                          launchd
                        MobileSMSd                         MobileSMS
                        nehelprd                           nehelper
                        pcsd                               com.apple.pcs
                        PDPDialogs                         PPPDialogs
                        ReminderIntentsUIExtension         RemindersIntentsUIExtension
                        rlaccountd                         xpcroleaccountd




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                        PEGASUS PROCESS NAME                          SPOOFED iOS BINARY
                        roleaccountd                                  xpcroleaccountd


The list of process names we associate with Pegasus infections is available among all other indicators of
compromise on our GitHub page15.




15
     Amnesty Tech, Investigations, GitHub, github.com/AmnestyTech/investigations.




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9. UNRAVELLING THE
PEGASUS ATTACK
INFRASTRUCTURE OVER
THE YEARS


The set of domain names, servers and infrastructure used to deliver and collect data from NSO Group’s
Pegasus spyware has evolved several times since first publicly disclosed by Citizen Lab in 2016.

In August 2018, Amnesty International published a report titled Amnesty International Among Targets of
NSO-powered Campaign16, which described the targeting of an Amnesty International staff member and a
Saudi human rights defender. In this report, Amnesty International presented an excerpt of more than 600
domain names tied to NSO Group’s attack infrastructure. Amnesty International published the full list of
domains17 in October 2018. In this report, we refer to these domains as Pegasus network Version 3 (V3).

The Version 3 infrastructure used a network of VPS’s and dedicated servers. Each Pegasus Installation
server or Command-and-Control (C&C) server hosted a web server on port 443 with a unique domain and
TLS certificate. These edge servers would then proxy connections through a chain of servers, referred to by
NSO Group as the “Pegasus Anonymizing Transmission Network” (PATN).

It was possible to create a pair of fingerprints for the distinctive set of TLS cipher suites supported by these
servers. The fingerprint technique is conceptually similar to the JA3S fingerprint technique published by
Salesforce in 2019.18 With that fingerprint, Amnesty International’s Security Lab performed Internet-wide
scans to identify Pegasus Installation/infection and C&C servers active in the summer of 2018.

NSO Group made critical operational security mistakes when setting up their Version 3 infrastructure. Two
domains of the previous Version 2 network were reused in their Version 3 network. These two Version 2
domains, pine-sales[.]com and ecommerce-ads[.]org had previously been identified by Citizen Lab. These




 Amnesty International, Amnesty International Among Targets of NSO-powered Campaign, 1 October 2018,
16

amnesty.org/en/latest/research/2018/08/amnesty-international-among-targets-of-nso-powered-campaign.
17
   Amnesty Tech, investigations/2018-08-01_nso/indicators.csv, GitHub, 1 August 2018,
github.com/AmnestyTech/investigations/blob/master/2018-08-01_nso/indicators.csv.
18
     John Althouse, TLS Fingerprinting with JA3 and JA3S, Salesforce Engineering, 15 January 2019,
engineering.salesforce.com/tls-fingerprinting-with-ja3-and-ja3s-247362855967?gi=ac7c343a3a68.




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mistakes allowed Amnesty International to link the attempted attack on our colleague to NSO Group’s
Pegasus product. These links were independently confirmed by Citizen Lab in a 2018 report.19

NSO Group rapidly shutdown many of their Version 3 servers shortly after the Amnesty International and
Citizen Lab’s publications on 1 August 2018.




9.1 FURTHER ATTEMPTS BY NSO GROUP TO HIDE THEIR
     INFRASTRUCTURE
In August 2019, the Amnesty International identified another case of NSO Group’s tools being used to target
a human rights defender, this time in Morocco. Maati Monjib was targeted with SMS messages containing
Version 3 Pegasus links.20

Amnesty performed a forensic analysis of his iPhone as described previously. This forensic analysis showed
redirects to a new domain name free247downloads.com. These links looked suspiciously similar to infection
links previously used by NSO.

Amnesty International confirmed this domain was tied to NSO Group by observing distinctive Pegasus
artefacts created on the device shortly after the infection URL was opened. With this new domain in hand,
we were able to begin mapping the Pegasus Version 4 (V4) infrastructure.

NSO Group re-factored their infrastructure to introduce additional layers, which complicated discovery.
Nevertheless, we could now observe at least 4 servers used in each infection chain.

     Validation domain: https://baramije[.]net/[ALPHANUMERIC STRING]

     Exploit domain:        https://[REDACTED].info8fvhgl3.urlpush[.]net:30827/[SAME ALPHANUMERIC
     STRING]

      1.    A validation server: The first step was a website which we have seen hosted on shared hosting
            providers. Frequently this website was running a random and sometimes obscure PHP application
            or CMS. Amnesty International believes this was an effort to make the domains look less
            distinguishable.

19
  Bill Marczak and others, NSO Group Infrastructure Linked to Targeting of Amnesty International and Saudi Dissident, Citizen Lab, 31 July
2018, citizenlab.ca/2018/07/nso-spyware-targeting-amnesty-international.
 Amnesty International, “Morocco: Human Rights Defenders Targeted with NSO Group’s Spyware”, 10 October 2019,
20

amnesty.org/en/latest/research/2019/10/Morocco-Human-Rights-Defenders-Targeted-with-NSO-Groups-Spyware.




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            The validation server would check the incoming request. If a request had a valid and still active
            URL the validation server would redirect the victim to the newly generated exploit server domain. If
            the URL or device was not valid it would redirect to a legitimate decoy website. Any passer-by or
            Internet crawler would only see the decoy PHP CMS.

      2.    Infection DNS server: NSO now appears to be using a unique subdomain for every exploit attempt.
            Each subdomain was generated and only active for a short period of time. This prevented
            researchers from finding the location of the exploit server based on historic device logs.

            To dynamically resolve these subdomains NSO Group ran a custom DNS server under a
            subdomain for every infection domain. It also obtained a wildcard TLS certificate which would be
            valid for each generated subdomain such as *.info8fvhgl3.urlpush[.]net or
            *.get1tn0w.free247downloads[.]com.

      3.    Pegasus Installation Server: To serve the actual infection payload NSO Group needs to run a web
            server somewhere on the Internet. Again, NSO Group took steps to avoid internet scanning by
            running the web server on a random high port number.

            We assume that each infection webserver is part of the new generation “Pegasus Anonymizing
            Transmission Network”. Connections to the infection server are likely proxied back to the
            customer’s Pegasus infrastructure.

      4.    Command and Control server: In previous generations of the PATN, NSO Group used separate
            domains for the initial infection and later communication with the spyware. The iPwn report from
            Citizen Lab21 provided evidence that Pegasus is again using separate domains for command and
            control. To avoid network-based discovery, the Pegasus spyware made direct connections the
            Pegasus C&C servers without first performing a DNS lookup or sending the domain name in the
            TLS SNI field.



9.2 IDENTIFYING OTHER NSO ATTACK DOMAINS
Amnesty International began by analysing the configuration of the infection domains and DNS servers used
in the attacks against Moroccan journalists and human rights defenders.

Based on our knowledge of the domains used in Morocco we developed a fingerprint which identified 201
Pegasus Installation domains which had infrastructure active at the time of the initial scan. This set of 201
domains included both urlpush[.]net and free247downloads[.]com.

Amnesty International identified an additional 500 domains with subsequent network scanning and by
clustering patterns of domain registration, TLS certificate issuance and domain composition which matched
the initial set of 201 domains.

Amnesty International believes that this represents a significant portion of the Version 4 NSO Group attack
infrastructure. We are publishing these 700 domains today. We recommend the civil society and media
organizations check their network telemetry and/or DNS logs for traces of these indicators of compromise.




 Bill Marczak and others, The Great iPwn: Journalists Hacked with Suspected NSO Group iMessage ‘Zero-Click’ Exploit, Citizen Lab, 20
21

December 2020, citizenlab.ca/2020/12/the-great-ipwn-journalists-hacked-with-suspected-nso-group-imessage-zero-click-exploit.




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9.3 WHAT CAN BE LEARNED FROM NSO GROUP’S
     INFRASTRUCTURE
The following chart shows the evolution of NSO Group Pegasus infrastructure over a 4-year period from 2016
until mid-2021. Much of the Version 3 infrastructure was abruptly shut down in August 2018 following our
report on an Amnesty International staff member targeted with Pegasus. The Version 4 infrastructure was
then gradually rolled out beginning in September and October 2018.




A significant number of new domains were registered in November 2019 shortly after WhatsApp notified
their users about alleged targeting with Pegasus. This may reflect NSO rotating domains due to perceived
risk of discovery, or because of disruption to their existing hosting infrastructure.

The V4 DNS server infrastructure began going offline in early 2021 following the Citizen Lab iPwn report22
which disclosed multiple Pegasus V4 domains.

Amnesty International suspects the shutting down of the V4 infrastructure coincided with NSO Group’s shift
to using cloud services such as Amazon CloudFront to deliver the earlier stages of their attacks. The use of
cloud services protects NSO Group from some Internet scanning techniques.



9.4 ATTACK INFRASTRUCTURE HOSTED PRIMARILY IN
      EUROPE AND NORTH AMERICA
NSO Group’s Pegasus infrastructure primarily consists of servers hosted at datacentres located in European
countries. The countries hosting the most infection domain DNS servers included Germany, the United
Kingdom, Switzerland, France, and the United States (US).

                                     COUNTRY                    SERVERS PER COUNTRY
                                     Germany                    212
                                     United Kingdom             79
                                     Switzerland                36
                                     France                     35
                                     United States              28
                                     Finland                    9
                                     Netherlands                5


 Bill Marczak and others, The Great iPwn: Journalists Hacked with Suspected NSO Group iMessage ‘Zero-Click’ Exploit, Citizen Lab, 20
22

December 2020, citizenlab.ca/2020/12/the-great-ipwn-journalists-hacked-with-suspected-nso-group-imessage-zero-click-exploit.




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                                   COUNTRY            SERVERS PER COUNTRY
                                   Canada             4
                                   Ukraine            4
                                   Singapore          3
                                   India              3
                                   Austria            3
                                   Japan              1
                                   Bulgaria           1
                                   Lithuania          1
                                   Bahrain            1

The following table shows the number of DNS servers hosted with each hosting provider. Most identified
servers are assigned to the US-owned hosting companies Digital Ocean, Linode and Amazon Web Services
(AWS).

Many hosting providers offer server hosting in multiple physical locations. Based on these two tables it
appears that NSO Group is primarily using the European datacentres run by American hosting companies to
run much of the attack infrastructure for its customers.

                            NETWORK                        SERVERS PER NETWORK
                            DIGITALOCEAN-ASN               142
                            Linode, LLC                    114
                            AMAZON-02                      73
                            Akenes SA                      60
                            UpCloud Ltd                    9
                            Choopa                         7
                            OVH SAS                        6
                            Virtual Systems LLC            2
                            ASN-QUADRANET-GLOBAL           1
                            combahton GmbH                 1
                            UAB Rakrejus                   1
                            HZ Hosting Ltd                 1
                            PE Brezhnev Daniil             1
                            Neterra Ltd.                   1
                            Kyiv Optic Networks Ltd        1

Amnesty International’s research identified 28 DNS servers linked to the infection infrastructure which were
hosted in the US.

   DOMAIN NAME                                    DNS SERVER IP                NETWORK
   drp32k77.todoinfonet.com                       104.223.76.216               ASN-QUADRANET-GLOBAL

   imgi64kf5so6k.transferlights.com               165.227.52.184               DIGITALOCEAN-ASN
   pc43v65k.alignmentdisabled.net                 167.172.215.114              DIGITALOCEAN-ASN
   img54fsd3267h.prioritytrail.net                157.245.228.71               DIGITALOCEAN-ASN




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   DOMAIN NAME                               DNS SERVER IP                  NETWORK
   jsfk3d43.netvisualizer.com                104.248.126.210                DIGITALOCEAN-ASN
   cdn42js666.manydnsnow.com                 138.197.223.170                DIGITALOCEAN-ASN
   css1833iv.handcraftedformat.com           134.209.172.164                DIGITALOCEAN-ASN
   js43fsf7v.opera-van.com                   159.203.87.42                  DIGITALOCEAN-ASN
   pypip36z19.myfundsdns.com                 167.99.105.68                  DIGITALOCEAN-ASN
   css912jy6.reception-desk.net              68.183.105.242                 DIGITALOCEAN-ASN
   imgi64kf5so6k.transferlights.com          206.189.214.74                 DIGITALOCEAN-ASN
   js85mail.preferenceviews.com              142.93.80.134                  DIGITALOCEAN-ASN
   css3218i.quota-reader.net                 165.227.17.53                  DIGITALOCEAN-ASN
   mongo87a.sweet-water.org                  142.93.113.166                 DIGITALOCEAN-ASN
   react12x2.towebsite.net                   3.13.132.96                    AMAZON-02
   jsb8dmc5z4.gettingurl.com                 13.59.79.240                   AMAZON-02
   react12x2.towebsite.net                   3.16.75.157                    AMAZON-02
   cssgahs5j.redirigir.net                   18.217.13.50                   AMAZON-02
   jsm3zsn5kewlmk9q.dns-analytics.com        18.225.12.72                   AMAZON-02
   imgcss35d.domain-routing.com              13.58.85.100                   AMAZON-02
   jsb8dmc5z4.gettingurl.com                 18.191.63.125                  AMAZON-02
   js9dj1xzc8d.beanbounce.net                199.247.15.15                  CHOOPA
   jsid76api.buildyourdata.com               108.61.158.97                  CHOOPA
   cdn19be2.reloadinput.com                  95.179.177.18                  CHOOPA
   srva9awf.syncingprocess.com               66.175.211.107                 Linode
   jsfk3d43.netvisualizer.com                172.105.148.64                 Linode
   imgdsg4f35.permalinking.com               23.239.16.143                  Linode
   srva9awf.syncingprocess.com               45.79.190.38                   Linode




9.5 INFECTION DOMAIN RESOLUTIONS OBSERVED IN
      PASSIVE DNS DATABASE
Based on forensic analysis of compromised devices, Amnesty International determined that NSO Group was
using a unique and randomly generated subdomain for each attempt to deliver the Pegasus spyware.

Amnesty International searched passive DNS datasets for each of the Pegasus Version 4 domains we have
identified. Passive DNS databases record historic DNS resolution for a domain and often included
subdomains and the corresponding historic IP address.

A subdomain will only be recorded in passive DNS records if the subdomain was successfully resolved, and
the resolution transited a network which was running a passive DNS probe.

This probe data is collected based on agreements between network operators and passive DNS data
providers. Many networks will not be covered by such data collection agreements. For example, no passive
DNS resolutions were recorded for either Pegasus infection domains used in Morocco.



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As such, these resolutions represent only a small subset of overall NSO Group Pegasus activity.

                    INFECTION DOMAIN                   UNIQUE INFECTION SUBDOMAINS
                    mongo77usr.urlredirect.net         417
                    str1089.mailappzone.com            410
                    apiweb248.theappanalytics.com      391
                    dist564.htmlstats.net              245
                    css235gr.apigraphs.net             147
                    nodesj44s.unusualneighbor.com      38
                    jsonapi2.linksnew.info             30
                    img9fo658tlsuh.securisurf.com      19
                    pc25f01dw.loading-url.net          12
                    dbm4kl5d3faqlk6.healthyguess.com   8
                    img359axw1z.reload-url.net         5
                    css2307.cssgraphics.net            5
                    info2638dg43.newip-info.com        3
                    img87xp8m.catbrushcable.com        2
                    img108jkn42.av-scanner.com         2
                    mongom5sxk8fr6.extractsight.com    2
                    img776cg3.webprotector.co          1
                    tv54d2ml1.topadblocker.net         1
                    drp2j4sdi.safecrusade.com          1
                    api1r3f4.redirectweburl.com        1
                    pc41g20bm.redirectconnection.net   1
                    jsj8sd9nf.randomlane.net           1
                    php78mp9v.opposedarrangement.net   1


The domain urlredirect.net had the highest number of observed unique subdomains. In total 417 resolutions
were recorded between 4 October 2018, and 17 September 2019. The second highest was
mailappzone.com which has 410 resolutions in a 3-month period between 23 July 2020, and 15 October
2020.

Amnesty International believes that each of these subdomain resolutions, 1748 in total, represent an attempt
to compromise a device with Pegasus. These 23 domains represent less than 7% of the 379 Pegasus
Installation Server domains we have identified. Based on this small subset, Pegasus may have been used in
thousands of attacks over the past three years.




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10. MOBILE DEVICES,
SECURITY AND
AUDITABILITY


Much of the targeting outlined in this report involves Pegasus attacks targeting iOS devices. It is important to
note that this does not necessarily reflect the relative security of iOS devices compared to Android devices, or
other operating systems and phone manufacturers.

In Amnesty International’s experience there are significantly more forensic traces accessible to investigators
on Apple iOS devices than on-stock Android devices, therefore our methodology is focused on the former. As
a result, most recent cases of confirmed Pegasus infections have involved iPhones.

This and all previous investigations demonstrate how attacks against mobile devices are a significant threat
to civil society globally. The difficulty to not only prevent, but posthumously detect attacks is the result of an
unsustainable asymmetry between the capabilities readily available to attackers and the inadequate
protections that individuals at risk enjoy.

While iOS devices provide at least some useful diagnostics, historical records are scarce and easily tampered
with. Other devices provide little to no help conducting consensual forensics analysis. Although much can be
done to improve the security posture of mobile devices and mitigate the risks of attacks such as those
documented in this report, even more could be achieved by improving the ability for device owners and
technical experts to perform regular checks of the system’s integrity.

Therefore, Amnesty International strongly encourages device vendors to explore options to make their
devices more auditable, without of course sacrificing any security and privacy protections already in place.
Platform developers and phone manufacturers should regularly engage in conversations with civil society to
better understand the challenges faced by HRDs, who are often under-represented in cybersecurity debates.




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11. WITH OUR
METHODOLOGY, WE
RELEASE OUR TOOLS AND
INDICATORS


For a long time, triaging the state of a suspected compromised mobile device has been considered a near-
impossible task, particularly within the human rights communities we work in. Through the work of Amnesty
International’s Security Lab, we have built important capabilities that may benefit our peers and colleagues
supporting activists, journalists, and lawyers who are at risk.

Therefore, through this report, we are not only sharing the methodology we have built over years of research
but also the tools we created to facilitate this work, as well as the Pegasus indicators of compromise we have
collected.

All indicators of compromise are available on our GitHub23, including domain names of Pegasus
infrastructure, email addresses recovered from iMessage account lookups involved in the attacks, and all
process names Amnesty International has identified as associated with Pegasus.

Amnesty International is also releasing a tool we have created, called Mobile Verification Toolkit (MVT) 24.
MVT is a modular tool that simplifies the process of acquiring and analysing data from Android devices, and
the analysis of records from iOS backups and filesystem dumps, specifically to identify potential traces of
compromise.




23
  Amnesty Tech, investigations/2021-07-18_nso/, GitHub, 18 July 2021, github.com/AmnestyTech/investigations/tree/master/2021-07-
18_nso.
24
     Amnesty International Security Lab, Mobile Verification Toolkit, GitHub, July 2021, github.com/mvt-project/mvt.




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MVT can be provided with indicators of compromise in STIX2 format25 and will identify any matching
indicators found on the device. In conjunction with Pegasus indicators, MVT can help identify if an iPhone
have been compromised.

Among others, some of the features MVT has include:

         •     Decrypt encrypted iOS backups.

         •     Process and parse records from numerous iOS system and apps databases and system logs.

         •     Extract installed applications from Android devices.

         •     Extract diagnostic information from Android devices through the adb protocol.

         •     Compare extracted records to a provided list of malicious indicators in STIX2 format. Automatically
               identify malicious SMS messages, visited websites, malicious processes, and more.

         •     Generate JSON logs of extracted records, and separate JSON logs of all detected malicious traces.

         •     Generate a unified chronological timeline of extracted records, along with a timeline all detected
               malicious traces.




25
     Introduction to STIX, GitHub, oasis-open.github.io/cti-documentation/stix/intro.html.




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12. ACKNOWLEDGEMENTS


The Amnesty International Security Lab wishes to acknowledge all those who have supported this research.
Tools released by the iOS security research community including libimobiledevice and checkra1n were used
extensively as part of this research. We would also like to thank Censys and RiskIQ for providing access to
their internet scan and passive DNS data.

Amnesty International wishes to acknowledge Citizen Lab for its important and extensive research on NSO
Group and other actors contributing to the unlawful surveillance of civil society. Amnesty International thanks
Citizen Lab for its peer-review of this research report.

Finally Amnesty International wishes to thank the numerous journalists and human rights defenders who
bravely collaborated to make this research possible.




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APPENDIX A: PEER
REVIEW OF
METHODOLOGY REPORT
BY CITIZEN LAB


The Citizen Lab at the University of Toronto has independently peer-reviewed a draft of the forensic
methodology outlined in this report.26




26
  Bill Marczak and others, Independent Peer Review of Amnesty International’s Forensic Methods for Identifying Pegasus Spyware, Citizen
Lab, 18 July 2021, citizenlab.ca/2021/07/amnesty-peer-review.




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APPENDIX B: SUSPICIOUS
iCLOUD ACCOUNT
LOOKUPS


This Appendix shows the overlap of iCloud accounts found looked-up on the mobile devices of different
targets. This list will be progressively updated.

             ICLOUD ACCOUNT                          TARGET
             emmaholm575[@]gmail.com                    •   AZJRN1 - Khadija Ismayilova
             filip.bl82[@]gmail.com                     •   AZJRN1 - Khadija Ismayilova
             kleinleon1987[@]gmail.com                  •   AZJRN1 - Khadija Ismayilova
             bergers.o79[@]gmail.com                    •   Omar Radi
                                                        •   FRHRL1 - Joseph Breham
                                                        •   FRHRL2
                                                        •   FRJRN1 - Lenaig Bredoux
                                                        •   FRJRN2
                                                        •   FRPOI1
                                                        •   FRPOI2 - François de Rugy
             naomiwerff772[@]gmail.com                  •   Omar Radi
                                                        •   FRHRL1 - Joseph Breham
                                                        •   FRPOI1
             bogaardlisa803[@]gmail.com                 •   FRHRL1 - Joseph Breham
                                                        •   FRJRN1 - Lenaig Bredoux
                                                        •   FRHRL2
             linakeller2203[@]gmail.com                 •   FRHRD1 - Claude Mangin
                                                        •   FRPOI3 - Philippe Bouyssou
                                                        •   FRPOI4
                                                        •   FRPOI5 - Oubi Buchraya Bachir
                                                        •   MOJRN1 – Hicham Mansouri
             jessicadavies1345[@]outlook.com            •   HUJRN1 - András Szabó
                                                        •   HUJRN2 - Szabolcs Panyi
             emmadavies8266[@]gmail.com                 •   HUJRN1 - András Szabó




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             ICLOUD ACCOUNT                  TARGET
                                              •   HUJRN2 - Szabolcs Panyi
             k.williams.enny74[@]gmail.com    •   HUPOI1
                                              •   HUPOI2 - Adrien Beauduin
                                              •   HUPOI3
             taylorjade0303[@]gmail.com       •   INHRD1 - SAR Geelani
                                              •   INJRN6 - Smita Sharma
                                              •   INPOI1 - Prashant Kishor
             lee.85.holland[@]gmail.com       •   INHRD1 - SAR Geelani
                                              •   INJRN6 - Smita Sharma
                                              •   INPOI1 - Prashant Kishor
             bekkerfredi[@]gmail.com          •   INHRD1 - SAR Geelani
                                              •   INPOI2
             herbruud2[@]gmail.com            •   INJRN1 - Mangalam Kesavan Venu
                                              •   INJRN2 - Sushant Singh
                                              •   INPOI1 - Prashant Kishor
             vincent.dahl76[@]gmail.com       •   KASH01 - Hatice Cengiz
                                              •   KASH02 - Rodney Dixon
             oskarschalcher[@]outlook.com     •   KASH03 - Wadah Khanfar
             benjiburns8[@]gmail.com          •   RWHRD1 - Carine Kanimba




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APPENDIX C: DETAILED
TRACES PER TARGET


This Appendix contains detailed breakdowns of forensic traces recovered for each target. This Appendix will
be progressively updated.



C.1 FORENSIC TRACES OVERVIEW FOR MAATI MONJIB
 DATE (UTC)                        EVENT
 2017-11-02 12:29:33               Pegasus SMS with link to hxxps://tinyurl[.]com/y73qr7mb redirecting to
                                   hxxps://revolution-news[.]co/ikXFZ34ca
 2017-11-02 16:42:34               Pegasus SMS with link to hxxps://stopsms[.]biz/vi78ELI
 2017-11-02 16:44:00               Pegasus SMS with link to hxxps://stopsms[.]biz/vi78ELI from +212766090491
 2017-11-02 16:45:10               Pegasus SMS with link to Hxxps://stopsms[.]biz/bi78ELI from +212766090491
 2017-11-02 16:57:00               Pegasus SMS with link to Hxxps://stopsms[.]biz/bi78ELI from +212766090491
 2017-11-02 17:13:45               Pegasus SMS with link to Hxxps://stopsms[.]biz/bi78ELI from +212766090491
 2017-11-02 17:21:57               Pegasus SMS with link to Hxxps://stopsms[.]biz/bi78ELI from +212766090491
 2017-11-02 17:30:49               Pegasus SMS with link to Hxxps://stopsms[.]biz/bi78ELI from +212766090491
 2017-11-02 17:40:46               Pegasus SMS with link to Hxxps://stopsms[.]biz/bi78ELI from +212766090491
 2017-11-15 17:05:17               Pegasus SMS with link to hxxps://videosdownload[.]co/nBBJBIP
 2017-11-20 18:22:03               Pegasus SMS with link to hxxps://infospress[.]com/LqoHgMCEE
 2017-11-24 13:43:17               Pegasus SMS with link to hxxps://tinyurl[.]com/y9hbdqm5 redirecting to
                                   hxxps://hmizat[.]co/JaCTkfEp
 2017-11-24 17:26:09               Pegasus SMS with link to hxxps://stopsms[.]biz/2Kj2ik6
 2017-11-27 15:56:10               Pegasus SMS with link to hxxps://stopsms[.]biz/yTnWt1Ct
 2017-11-27 17:32:37               Pegasus SMS with link to hxxps://hmizat[.]co/ronEKDVaf
 2017-12-07 18:21:57               Pegasus SMS with link to hxxp://tinyurl[.]com/y7wdcd8z redirecting to
                                   hxxps://infospress[.]com/Ln3HYK4C
 2018-01-08 12:58:14               Pegasus SMS with link to hxxp://tinyurl[.]com/y87hnl3o redirecting to
                                   hxxps://infospress[.]com/asjmXqiS
 2018-02-09 21:12:49               Process: pcsd
 2018-03-16 08:24:20               Process: pcsd




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 DATE (UTC)                        EVENT
 2018-04-28 22:25:12               Process: bh
 2018-05-04 21:30:45               Process: pcsd
 2018-05-21 21:46:06               Process: fmld
 2018-05-22 17:36:51               Process: bh
 2018-06-04 11:05:43               Process: fmld
 2019-03-27 21:45:10               Process: bh
 2019-04-14 23:02:41               Safari favicon from URL
                                   hxxps://c7r8x8f6zecd8j.get1tn0w.free247downloads[.]com:30352/Ld3xuuW5
 2019-06-27 20:13:10               Safari favicon from URL
                                   hxxps://3hdxu4446c49s.get1tn0w.free247downloads[.]com:30497/pczrccr#05
                                   2045871202826837337308184750023238630846883009852
 2019-07-22 15:42:32               Safari visit to
                                   hxxps://bun54l2b67.get1tn0w.free247downloads[.]com:30495/szev4hz
 2019-07 22 15:42:32               Safari visit to
                                   hxxps://bun54l2b67.get1tn0w.free247downloads[.]com:30495/szev4hz#04863
                                   4787343287485982474853012724998054718494423286
 2019-07-22 15:43:06               Safari favicon from URL
                                   hxxps://bun54l2b67.get1tn0w.free247downloads[.]com:30495/szev4hz#04863
                                   4787343287485982474853012724998054718494423286
 N/A                               WebKit IndexedDB file for URL
                                   hxxps://c7r8x8f6zecd8j.get1tn0w.free247downloads[.]com
 N/A                               WebKit IndexedDB file for URL
                                   hxxps://bun54l2b67.get1tn0w.free247downloads[.]com
 N/A                               WebKit IndexedDB file for URL
                                   hxxps://keewrq9z.get1tn0w.free247downloads[.]com
 N/A                               WebKit IndexedDB file for URL
                                   hxxps://3hdxu4446c49s.get1tn0w.free247downloads[.]com




C.2 FORENSIC TRACES OVERVIEW FOR OMAR RADI
   DATE (UTC)                       EVENT
   2019-02-11 14:45:45              Webkit IndexedDB file for URL
                                    hxxps://d9z3sz93x5ueidq3.get1tn0w.free247downloads[.]com
   2019-02-11 13:45:53              Safari favicon from URL
                                    hxxps://d9z3sz93x5ueidq3.get1tn0w.free247downloads[.]com:30897/rdEN5
                                    YP
   2019-02-11 13:45:56              Process: bh
   2019-02-11 13:46:16              Process: roleaboutd
   2019-02-11 13:46:23              Process: roleaboutd
   2019-02-11 16:05:24              Process: roleaboutd
   2019-08-16 17:41:06              iMessage lookup for account bergers.o79[@]gmail.com




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   DATE (UTC)                      EVENT
   2019-09-13 15:01:38             Safari favicon for URL
                                   hxxps://2far1v4lv8.get1tn0w.free247downloads[.]com:31052/meunsnyse#01
                                   1356570257117296834845704022338973133022433397236
   2019-09-13 15:01:56             Safari favicon for URL
                                   hxxps://2far1v4lv8.get1tn0w.free247downloads[.]com:31052/meunsnyse#06
                                   8099561614626278519925358638789161572427833645389
   2019-09-13 15:02:11             Process: bh
   2019-09-13 15:02:20             Process: msgacntd
   2019-09-13 15:02:33             Process: msgacntd
   2019-09-14 15:02:57             Process: msgacntd
   2019-09-14 18:51:54             Process: msgacntd
   2019-10-29 12:21:18             iMessage lookup for account naomiwerff772[@]gmail.com
   2020-01-27 10:06:24             Safari favicon for URL
                                   hxxps://gnyjv1xltx.info8fvhgl3.urlpush[.]net:30875/zrnv5revj#074196419827
                                   987919274001548622738919835556748325946
   2020-01-27 10:06:26             Safari visit to
                                   hxxps://gnyjv1xltx.info8fvhgl3.urlpush[.]net:30875/zrnv5revj#074196419827
                                   987919274001548622738919835556748325946#2
   2020-01-27 10:06:26             Safari visit to
                                   hxxps://gnyjv1xltx.info8fvhgl3.urlpush[.]net:30875/zrnv5revj#074196419827
                                   987919274001548622738919835556748325946#24
   2020-01-27 10:06:32             Safari favicon for URL
                                   hxxps://gnyjv1xltx.info8fvhgl3.urlpush[.]net:30875/zrnv5revj#074196419827
                                   987919274001548622738919835556748325946%2324




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APPENDIX D: PEGASUS
FORENSIC TRACES PER
TARGET


All individuals have been assigned a code name for safety and privacy reasons. Only individuals who have
given consent will be named publicly.

The occurrence of a known malicious iCloud account may be a result of actions made by a Pegasus
customer against a potential target device. It does not by itself signify that an attack was attempted or
succeeded.



FORENSIC TRACES FOR AZJRN1 – KHADIJA ISMAYILOVA
            DATE (UTC)               EVENT
            2019-03-28 07:44:14      Process: roleaccountd
            2019-03-28 07:44:14      Process: stagingd
            2019-03-28 07:44:15      File: Library/Preferences/roleaccountd.plist
            2019-04-02 09:17:55      Process record deleted from ZPROCESS
            2019-04-12 07:42:38      Process record deleted from ZPROCESS
            2019-05-01 10:48:06      Process record deleted from ZPROCESS
            2019-05-03 07:42:27      Process record deleted from ZPROCESS
            2019-05-18 11:03:21      Process record deleted from ZPROCESS
            2019-06-17 05:10:02      Process record deleted from ZPROCESS
            2019-06-18 05:25:41      Process record deleted from ZPROCESS
            2019-06-25 17:03:13      Process record deleted from ZPROCESS
            2019-07-08 05:39:13      Process record deleted from ZPROCESS
            2019-07-12 11:10:51      Process record deleted from ZPROCESS
            2019-07-18 13:40:01      Process record deleted from ZPROCESS
            2019-08-22 08:41:02      Process record deleted from ZPROCESS
            2019-08-26 05:04:19      Process record deleted from ZPROCESS




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            DATE (UTC)             EVENT
            2019-08-27 15:02:15    Process record deleted from ZPROCESS
            2019-09-06 05:52:30    Process record deleted from ZPROCESS
            2019-09-07 07:19:31    Process record deleted from ZPROCESS
            2019-09-15 06:11:31    Process record deleted from ZPROCESS
            2019-09-17 14:11:51    Process record deleted from ZPROCESS
            2019-09-28 12:25:15    Process: libtouchregd
            2019-10-01 19:42:17    Process record deleted from ZPROCESS
            2019-10-14 05:11:06    Process record deleted from ZPROCESS
            2019-10-14 16:08:43    Process: libbmanaged
            2019-10-14 16:08:43    Process: mobileargd
            2019-10-14 16:08:43    Process: brstaged
            2019-10-14 16:08:43    Process: libtouchregd
            2019-10-14 16:08:43    Process: launchrexd
            2019-10-15 14:21:44    Process: faskeepd
            2019-10-16 22:17:17    Process: bundpwrd
            2019-10-22 15:42:40    Process: seraccountd
            2019-10-22 15:42:40    Process: comnetd
            2019-11-25 09:06:49    Process: confinstalld
            2019-11-25 09:06:49    Process: msgacntd
            2019-11-25 09:06:49    Process: launchrexd
            2019-11-25 09:06:49    Process: accountpfd
            2019-11-25 09:06:49    Process: xpccfd
            2019-11-25 09:06:49    Process: setframed
            2019-11-25 09:06:49    Process: natgd
            2019-11-25 09:06:49    Process: aggregatenotd
            2019-12-09 05:28:20    Process record deleted from ZPROCESS
            2019-12-22 16:10:27    Process record deleted from ZPROCESS
            2019-12-26 06:01:46    Process record deleted from ZPROCESS
            2020-01-09 05:43:20    Process record deleted from ZPROCESS
            2020-01-14 06:56:05    Process record deleted from ZPROCESS
            2020-01-27 05:44:27    Process record deleted from ZPROCESS
            2020-01-31 11:41:04    Process record deleted from ZPROCESS
            2020-02-07 05:00:03    Process record deleted from ZPROCESS
            2020-02-09 07:03:56    Process record deleted from ZPROCESS
            2020-02-13 05:00:59    iMessage lookup for account e\x00\x00aholm575[@]gmail.com
                                   (emmaholm575[@]gmail.com)
            2020-02-23 07:39:00    Process record deleted from ZPROCESS
            2020-02-26 04:57:01    Process record deleted from ZPROCESS




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            DATE (UTC)             EVENT
            2020-03-09 05:33:30    Process record deleted from ZPROCESS
            2020-03-13 06:45:19    Process record deleted from ZPROCESS
            2020-03-24 07:27:42    Process record deleted from ZPROCESS
            2020-03-30 06:08:44    Process record deleted from ZPROCESS
            2020-04-21 12:04:31    Process record deleted from ZPROCESS
            2020-04-23 06:26:56    iMessage lookup for account filip.bl82[@]gmail.\x00\x00m
                                   (filip.bl82[@]gmail.com)
            2020-04-23 07:24:11    Process record deleted from ZPROCESS
            2020-04-29 07:31:57    Process record deleted from ZPROCESS
            2020-04-30 07:58:32    Process record deleted from ZPROCESS
            2020-05-11 14:25:28    Process record deleted from ZPROCESS
            2020-05-15 11:31:09    Process record deleted from ZPROCESS
            2020-05-17 07:03:29    Process record deleted from ZPROCESS
            2020-05-20 21:10:16    Process: logseld
            2020-05-20 21:10:16    Process: brstaged
            2020-05-20 21:10:16    Process: pstid
            2020-05-20 21:10:16    Process: roleaboutd
            2020-05-20 21:10:16    Process: libtouchregd
            2020-05-20 21:10:16    Process: brstaged
            2020-05-29 07:11:37    Process record deleted from ZPROCESS
            2020-05-31 07:32:56    Process record deleted from ZPROCESS
            2020-05-31 15:28:11    Process: bfrgbd
            2020-05-31 15:28:11    Process: xpccfd
            2020-05-31 15:28:11    Process: nehelprd
            2020-06-01 09:07:27    iMessage lookup for account
                                   kleinleon1987[@]gma\x00\x00.com
                                   (kleinleon1987[@]gmail.com)
            2020-06-05 13:07:16    Process record deleted from ZPROCESS
            2020-06-08 08:13:02    Process record deleted from ZPROCESS
            2020-06-08 18:22:45    Process: comnetd
            2020-06-08 18:22:45    Process: fservernetd
            2020-06-08 18:22:45    Process: rolexd
            2020-06-12 08:45:08    Process record deleted from ZPROCESS
            2020-06-22 05:29:22    Process: roleaccountd
            2020-06-22 05:29:23    Process: stagingd
            2020-06-27 11:23:05    Process record deleted from ZPROCESS
            2020-06-27 11:23:09    Process record deleted from ZPROCESS
            2020-06-29 05:13:04    Process record deleted from ZPROCESS
            2020-06-29 05:13:04    Process record deleted from ZPROCESS




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            DATE (UTC)             EVENT
            2020-06-30 05:59:08    iMessage lookup for account
                                   k\x00\x00inleon1987[@]gmail.com
                                   (kleinleon1987[@]gmail.com)
            2020-07-01 13:04:43    Process: nehelprd
            2020-07-01 13:04:43    Process: aggregatenotd
            2020-07-01 13:04:43    Process: fservernetd
            2020-07-01 13:04:43    Process: msgacntd
            2020-07-02 06:29:48    Process record deleted from ZPROCESS
            2020-07-02 06:29:48    Process record deleted from ZPROCESS
            2020-07-03 06:51:47    Process record deleted from ZPROCESS
            2020-07-03 06:51:53    Process record deleted from ZPROCESS
            2020-07-04 07:20:57    Process record deleted from ZPROCESS
            2020-07-04 07:20:58    Process record deleted from ZPROCESS
            2020-07-05 07:23:50    Process record deleted from ZPROCESS
            2020-07-06 05:22:21    iMessage lookup for account f\x00\x00ip.bl82[@]gmail.com
                                   (filip.bl82[@]gmail.com)
            2020-07-10 14:12:09    Cache file
                                   /private/var/mobile/Containers/Data/Application/D6A69566-
                                   55F7-4757-96DE-
                                   EBA612685272/Library/Caches/com.apple.Music/Cache.db
                                   recorded visit to URL
                                   hxxps://x1znqjo0x8b8j.php78mp9v.opposedarrangement[.]net:
                                   37271/afAVt89Wq/stadium/pop2.html?key=501_4&n=7
            2020-07-10 14:12:15    Cache file
                                   /private/var/mobile/Containers/Data/Application/D6A69566-
                                   55F7-4757-96DE-
                                   EBA612685272/Library/Caches/com.apple.Music/Cache.db
                                   recorded visit to URL
                                   hxxps://x1znqjo0x8b8j.php78mp9v.opposedarrangement[.]net:
                                   37271/afAVt89Wq/stadium/pop2.html?key=501_4&n=1
            2020-07-10 14:12:21    Process: roleaccountd
            2020-07-10 14:12:26    Process: stagingd
            2020-07-11 19:34:04    Process: confinstalld
            2020-07-11 19:34:04    Process: roleaboutd
            2020-07-11 19:34:04    Process: lobbrogd
            2020-07-11 19:34:04    Process: fservernetd
            2020-07-11 19:34:04    Process: launchafd
            2020-07-13 05:05:17    Cache file
                                   /private/var/mobile/Containers/Data/Application/D6A69566-
                                   55F7-4757-96DE-
                                   EBA612685272/Library/Caches/com.apple.Music/Cache.db
                                   recorded visit to URL
                                   hxxps://4n3d9ca2st.php78mp9v.opposedarrangement[.]net:37
                                   891/w58Xp5Z/stadium/pop2.html?key=501_4&n=7



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            DATE (UTC)               EVENT
            2020-12-07 07:23:23      iMessage lookup for account kleinleon1987[@]gmail.com
            2021-04-20 17:53:51      iMessage lookup for account filip.bl82[@]gmail.com
            2021-05-06 08:34:43      iMessage lookup for account emmaholm575[@]gmail.com




FORENSIC TRACES FOR AZJRN2 – SEVINC VAQIFQIZI
        DATE (UTC)                 EVENT
        2019-04-17 10:53:04        File created: Library/Preferences/com.apple.CrashReporter.plist from
                                   RootDomain
        2019-04-17 10:53:45        Process: roleaccountd
        2019-04-17 10:53:45        File created: Library/Preferences/roleaccountd.plist from RootDomain
        2019-04-24 12:13:29        Process: roleaccountd
        2019-04-24 12:13:31        Process: stagingd
        2019-07-18 09:35:17        Process: rolexd
        2019-08-02 11:45:12        Process: actmanaged
        2019-10-08 15:22:29        Process: libbmanaged
        2019-10-12 08:17:28        Process: xpccfd
        2019-10-14 05:05:09        Process: setframed
        2019-10-18 06:16:16        Process: natgd
        2019-10-21 05:23:50        Process: libtouchregd
        2019-10-29 05:28:54        Process: frtipd
        2019-11-08 07:01:25        Process: brstaged
        2019-11-11 10:46:47        Process: boardframed
        2019-11-17 07:15:36        Process: ckkeyrollfd
        2019-11-19 11:50:37        Process: mptbd
        2019-12-02 05:18:49        Process: mobileargd
        2019-12-03 13:15:03        Process: nehelprd
        2019-12-12 14:38:31        Process: corecomnetd
        2020-02-10 05:15:54        Process: pstid
        2020-02-12 10:10:30        Process: stagingd (IN: 63.17 MB, OUT: 2.76 MB)
        2020-02-13 15:32:49        Process: roleaccountd (IN: 0.25 MB, OUT: 0.13 MB)
        2020-03-02 08:57:41        Process: roleaccountd
        2020-03-02 08:57:48        Process: stagingd
        2020-03-02 08:58:07        Process: seraccountd
        2020-12-15 10:55:58        Process: comsercvd
        2020-12-24 08:45:03        Process: comsercvd (IN: 17.63 MB, OUT: 64.19 MB)
        2020-12-24 16:47:45        Process: comsercvd
        2021-02-09 09:42:00        Attack related push notifications over iMessage



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        DATE (UTC)                    EVENT
        2021-02-09 10:06:50           Process: ctrlfs
        2021-02-09 10:06:50           Process: ctrlfs
        2021-05-20 05:46:42           Process: com.apple.rapports.events




FORENSIC TRACES FOR FRHRD1 – CLAUDE MANGIN
PHONE 1
   DATE (UTC)                      EVENT
   2020-10-08 08:40:42             File created: Library/Preferences/com.apple.softwareupdateservicesd.plist
                                   from HomeDomain
   2020-10-08 10:25:29             Process record deleted from ZPROCESS (IN: 5.46 MB, OUT: 45.62 MB)
   2020-10-09 16:17:22             Process record deleted from ZPROCESS (IN: 0.71 MB, OUT: 1.33 MB)
   2020-10-10 16:17:24             Process record deleted from ZPROCESS (IN: 0.30 MB, OUT: 0.82 MB)
   2020-10-11 16:17:32             Process record deleted from ZPROCESS (IN: 2.25 MB, OUT: 4.88 MB)
   2020-10-12 16:51:34             Process record deleted from ZPROCESS (IN: 0.98 MB, OUT: 1.31 MB)
   2020-10-13 17:55:23             Process record deleted from ZPROCESS (IN: 1.20 MB, OUT: 5.40 MB)
   2020-10-15 17:30:29             Process record deleted from ZPROCESS (IN: 1.56 MB, OUT: 1.92 MB)
   2020-10-17 17:08:00             Process record deleted from ZPROCESS (IN: 1.80 MB, OUT: 0.23 MB)
   2020-11-18 13:32:24             Process record deleted from ZPROCESS (IN: 1.83 MB, OUT: 0.21 MB)
   2020-12-14 15:29:59             Process record deleted from ZPROCESS (IN: 1.83 MB, OUT: 0.25 MB)
   2020-12-14 15:31:13             Process record deleted from ZPROCESS (IN: 0.02 MB, OUT: 0.05 MB)
   2020-12-15 14:36:59             Process record deleted from ZPROCESS (IN: 1.83 MB, OUT: 0.25 MB)
   2021-01-12 14:33:11             Process record deleted from ZPROCESS (IN: 6.99 MB, OUT: 22.26 MB)
   2021-01-15 13:39:12             Process record deleted from ZPROCESS (IN: 0.06 MB, OUT: 0.07 MB)
   2021-01-16 13:43:10             Process record deleted from ZPROCESS (IN: 2.00 MB, OUT: 1.88 MB)
   2021-01-17 15:48:01             Process record deleted from ZPROCESS (IN: 1.25 MB, OUT: 4.43 MB)
   2021-01-19 13:58:33             Process record deleted from ZPROCESS (IN: 2.94 MB, OUT: 3.59 MB)
   2021-01-21 08:40:52             Process record deleted from ZPROCESS (IN: 1.69 MB, OUT: 1.64 MB)
   2021-01-22 08:41:08             Process record deleted from ZPROCESS (IN: 2.50 MB, OUT: 4.70 MB)
   2021-03-16 12:33:20             Process record deleted from ZPROCESS (IN: 292.83 MB, OUT: 353.60 MB)
   2021-03-17 12:40:45             Process record deleted from ZPROCESS (IN: 0.63 MB, OUT: 0.37 MB)
   2021-03-19 10:55:06             Process record deleted from ZPROCESS (IN: 2.74 MB, OUT: 1.72 MB)
   2021-03-20 10:57:33             Process record deleted from ZPROCESS (IN: 9.34 MB, OUT: 8.15 MB)
   2021-03-21 10:59:08             Process record deleted from ZPROCESS (IN: 12.38 MB, OUT: 19.65 MB)
   2021-03-22 11:02:54             Process record deleted from ZPROCESS (IN: 2.54 MB, OUT: 5.11 MB)
   2021-03-23 11:34:43             Process record deleted from ZPROCESS (IN: 0.35 MB, OUT: 0.21 MB)
   2021-03-24 11:51:11             Process record deleted from ZPROCESS (IN: 2.69 MB, OUT: 1.72 MB)



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   DATE (UTC)                      EVENT
   2021-03-25 12:44:15             Process record deleted from ZPROCESS (IN: 3.74 MB, OUT: 3.94 MB)
   2021-03-27 14:43:42             Process record deleted from ZPROCESS (IN: 1.72 MB, OUT: 1.06 MB)
   2021-03-27 22:52:14             Process: brstaged
   2021-03-31 14:18:42             Process record deleted from ZPROCESS (IN: 0.02 MB, OUT: 0.01 MB)
   2021-03-31 14:19:03             Process record deleted from ZPROCESS (IN: 1.87 MB, OUT: 0.28 MB)
   2021-04-01 05:50:40             Process: accountpfd
   2021-04-30 12:25:15             Process record deleted from ZPROCESS (IN: 77.19 MB, OUT: 49.49 MB)
   2021-05-01 16:35:25             Process record deleted from ZPROCESS (IN: 5.86 MB, OUT: 3.63 MB)
   2021-05-03 07:27:01             Process record deleted from ZPROCESS (IN: 1.70 MB, OUT: 0.97 MB)
   2021-05-04 07:59:24             Process record deleted from ZPROCESS (IN: 2.66 MB, OUT: 1.77 MB)
   2021-05-05 09:09:40             Process record deleted from ZPROCESS (IN: 11.23 MB, OUT: 7.73 MB)
   2021-05-07 13:13:51             Process record deleted from ZPROCESS (IN: 5.51 MB, OUT: 3.57 MB)
   2021-05-08 13:15:26             Process record deleted from ZPROCESS (IN: 13.65 MB, OUT: 9.88 MB)
   2021-05-09 13:18:40             Process record deleted from ZPROCESS (IN: 15.42 MB, OUT: 9.87 MB)
   2021-05-10 13:20:46             Process record deleted from ZPROCESS (IN: 0.31 MB, OUT: 0.19 MB)
   2021-05-12 09:25:23             Process record deleted from ZPROCESS (IN: 3.87 MB, OUT: 2.33 MB)
   2021-05-13 09:26:19             Process record deleted from ZPROCESS (IN: 1.79 MB, OUT: 1.15 MB)
   2021-05-14 00:32:59             Process: comsercvd
   2021-05-15 12:51:46             Process: com.apple.Mappit.SnapshotService (IN: 0.03 MB, OUT: 0.01 MB)
   2021-05-15 12:56:04             Process record deleted from ZPROCESS (IN: 1.87 MB, OUT: 0.28 MB)
   2021-05-15 13:04:10             Process: roleaboutd
   2021-05-15 13:04:10             Process: confinstalld
   2021-05-15 13:04:10             Process: gssdp
   2021-05-15 20:58:34             Process: roleaboutd
   2021-05-15 20:58:34             Process: confinstalld
   2021-05-15 20:58:34             Process: gssdp
   2021-05-16 21:46:58             Process: roleaboutd
   2021-05-16 21:46:58             Process: confinstalld
   2021-05-16 21:46:58             Process: gssdp
   2021-05-17 21:46:13             Process: roleaboutd
   2021-05-17 21:46:13             Process: confinstalld
   2021-05-17 21:46:13             Process: gssdp
   2021-05-18 21:47:13             Process: roleaboutd
   2021-05-18 21:47:13             Process: confinstalld
   2021-05-18 21:47:13             Process: gssdp
   2021-05-19 22:30:36             Process: roleaboutd
   2021-05-19 22:30:36             Process: confinstalld
   2021-05-19 22:30:36             Process: gssdp




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   DATE (UTC)                      EVENT
   2021-05-21 21:09:59             Process: roleaboutd
   2021-05-21 21:09:59             Process: confinstalld
   2021-05-21 21:09:59             Process: gssdp
   2021-05-22 21:12:51             Process: roleaboutd
   2021-05-22 21:12:51             Process: confinstalld
   2021-05-22 21:12:51             Process: gssdp
   2021-05-23 21:13:37             Process: roleaboutd
   2021-05-23 21:13:37             Process: confinstalld
   2021-05-23 21:13:37             Process: gssdp
   2021-05-23 21:14:55             Process: roleaboutd
   2021-05-23 21:14:55             Process: confinstalld
   2021-05-23 21:14:55             Process: gssdp
   2021-05-25 10:51:16             Process: roleaboutd
   2021-05-25 10:51:16             Process: confinstalld
   2021-05-25 10:51:16             Process: gssdp
   2021-05-26 19:31:58             Process: roleaboutd
   2021-05-26 19:31:58             Process: confinstalld
   2021-05-26 19:31:58             Process: gssdp
   2021-05-27 19:35:21             Process: roleaboutd
   2021-05-27 19:35:21             Process: confinstalld
   2021-05-27 19:35:21             Process: gssdp
   2021-05-28 19:50:06             Process: roleaboutd
   2021-05-28 19:50:06             Process: confinstalld
   2021-05-28 19:50:06             Process: gssdp
   2021-05-29 19:51:18             Process: roleaboutd
   2021-05-29 19:51:18             Process: confinstalld
   2021-05-29 19:51:18             Process: gssdp
   2021-05-31 04:52:47             Process: roleaboutd
   2021-05-31 04:52:47             Process: confinstalld
   2021-05-31 04:52:47             Process: gssdp
   2021-05-31 04:53:49             Process: roleaboutd
   2021-05-31 04:53:49             Process: confinstalld
   2021-05-31 04:53:49             Process: gssdp
   2021-06-01 05:13:25             Process: roleaboutd
   2021-06-01 05:13:25             Process: confinstalld
   2021-06-01 05:13:25             Process: gssdp
   2021-06-01 14:12:05             Process: PDPDialogs
   2021-06-02 05:14:44             Process: roleaboutd




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   DATE (UTC)                      EVENT
   2021-06-02 05:14:44             Process: confinstalld
   2021-06-02 05:14:44             Process: gssdp
   2021-06-03 05:23:42             Process: roleaboutd
   2021-06-03 05:23:42             Process: confinstalld
   2021-06-03 05:23:42             Process: gssdp
   2021-06-04 14:38:54             Process: roleaboutd
   2021-06-04 14:38:54             Process: confinstalld
   2021-06-04 14:38:54             Process: gssdp
   2021-06-05 20:26:58             Process: confinstalld
   2021-06-06 20:33:20             Process: confinstalld
   2021-06-07 20:31:57             Process: confinstalld
   2021-06-09 14:42:29             Process: confinstalld
   2021-06-10 20:09:26             Process: confinstalld
   2021-06-11 09:34:00             Attack related push notifications over iMessage
   2021-06-11 09:35:00             Attack related push notifications over iMessage
   2021-06-11 09:36:00             Attack related push notifications over iMessage
   2021-06-11 09:37:00             Attack related push notifications over iMessage
   2021-06-11 09:37:52             iMessage lookup for account linakeller2203[@]gmail.com
   2021-06-11 09:38:00             Attack related push notifications over iMessage
   2021-06-11 09:40:00             Attack related push notifications over iMessage
   2021-06-11 09:41:00             Attack related push notifications over iMessage
   2021-06-11 09:43:00             Attack related push notifications over iMessage
   2021-06-11 09:48:37             Process: com.apple.Mappit.SnapshotService (IN: 0.02 MB, OUT: 0.01 MB)
   2021-06-11 09:48:49             Process: com.apple.Mappit.SnapshotService
   2021-06-11 09:51:28             Process: cfprefssd
   2021-06-11 20:25:58             Process: confinstalld
   2021-06-12 19:30:30             Process: confinstalld




PHONE 2
                DATE (UTC)                  EVENT
                2021-07-06 12:39:42         iMessage lookup for account linakeller2203[@]gmail.com
                2021-07-06 12:40:30         Traces from zero-click attack attempt over iMessage




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FORENSIC TRACES FOR FRHRD2
                        DATE (UTC)           EVENT
                        2019-01-03 11:32     Suspicious SMS with fake Facebook link: https://web-
                                             facebook[.]com/[REDACTED]




FORENSIC TRACES FOR FRHRL1 - JOSEPH BREHAM
            DATE (UTC)                     EVENT
            2019-09-20 10:27:41            iMessage lookup for account bergers.o79[@]gmail.com
            2019-09-20 10:29:47            iMessage lookup for account naomiwerff772[@]gmail.com
            2019-10-29 09:04:58            Process: bh (IN: 2.86 MB, OUT: 0.21 MB)
            2019-10-29 09:05:08            File created: Library/Preferences/com.apple.CrashReporter.plist
                                           from RootDomain
            2019-10-29 09:05:52            Process: mptbd (IN: 18.31 MB, OUT: 106.70 MB)
            2019-11-01 12:09:05            Process: mptbd
            2019-11-01 19:03:23            Process: mptbd
            2019-11-04 09:35:34            Process: corecomnetd (IN: 62.45 MB, OUT: 157.21 MB)
            2019-11-07 11:53:06            Process: corecomnetd
            2019-11-07 19:41:45            Process: corecomnetd
            2019-11-08 15:27:30            Process: actmanaged (IN: 90.27 MB, OUT: 139.34 MB)
            2019-11-13 19:09:16            Process: actmanaged
            2019-11-15 17:07:06            Process: actmanaged
            2019-11-20 11:15:13            Process: pstid (IN: 13.85 MB, WWAN OUT: 1.83 MB)
            2019-11-20 11:17:40            Process: pstid
            2019-11-22 09:17:27            Process: bh
            2019-11-22 09:22:00            Process: logseld (IN: 0.01 MB, WWAN OUT: 0.01 MB)
            2019-11-26 09:23:57            Process: ckeblld (IN: 0.02 MB, WWAN OUT: 0.01 MB)
            2019-11-29 09:38:05            Process: libbmanaged (IN: 77.70 MB, OUT: 128.32 MB)
            2019-12-05 10:45:44            Process: libbmanaged
            2019-12-06 08:25:23            Process: libbmanaged
            2019-12-06 12:02:25            Process: natgd
            2019-12-09 10:44:59            Process: launchrexd (IN: 22.50 MB, OUT: 86.92 MB)
            2019-12-15 17:17:59            Process: launchrexd
            2019-12-16 01:37:31            Process: launchrexd
            2019-12-18 08:13:29            Process: bh
            2019-12-18 08:14:05            Process: ckeblld
            2019-12-18 11:50:15            Process: ckeblld
            2019-12-22 15:13:04            Process: natgd (IN: 5.39 MB, OUT: 35.72 MB)
            2019-12-25 08:57:28            iMessage lookup for account bogaardlisa803[@]gmail.com




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FORENSIC TRACES FOR FRHRL2
   DATE (UTC)                      EVENT
                                   File created: Library/Preferences/com.apple.CrashReporter.plist from
   2019-06-13 14:03:23
                                   RootDomain
   2019-06-13 14:03:42             File created: Library/Preferences/roleaccountd.plist from RootDomain
   2019-06-13 14:04:00             Process: roleaccountd (IN: 0.01 MB, OUT: 0.00 MB)
   2019-06-13 14:04:00             Process: stagingd (IN: 1.47 MB, OUT: 0.08 MB)
   2019-06-13 14:04:30             Process: launchafd (IN: 0.01 MB, OUT: 0.01 MB)
   2019-06-13 14:04:31             Process: launchafd
   2019-06-13 16:03:43             Process: roleaccountd
   2019-06-17 17:22:00             Process: corecomnetd
   2019-06-24 08:58:25             Process: corecomnetd (IN: 0.51 MB, OUT: 0.88 MB)
                                   iMessage lookup for account b\x00\x00gers.o79[@]gmail.com
   2019-07-01 14:44:29
                                   (bergers.o79[@]gmail.com)
   2019-07-04 09:01:19             Process: fdlibframed
   2019-07-08 10:14:53             Process: fdlibframed (IN: 25.19 MB, OUT: 209.25 MB)
   2019-07-10 08:44:54             Process: fdlibframed
                                   iMessage lookup for account bergers.o79[@]gmail\x00\x00om
   2019-07-12 13:58:16
                                   (bergers.o79[@]gmail.com)
   2019-07-18 18:22:47             Process: corecomnetd (IN: 64.69 MB, OUT: 401.88 MB)
   2019-07-18 19:53:44             Process: corecomnetd
   2019-07-22 15:13:11             Process: roleaboutd
   2019-07-25 18:29:47             Process: roleaboutd (IN: 4.62 MB, OUT: 10.40 MB)
   2019-07-28 20:24:31             Process: roleaboutd (IN: 27.80 MB, OUT: 261.17 MB)
   2019-07-29 04:02:57             Process: roleaboutd
   2019-08-02 15:34:08             Process: roleaccountd (IN: 0.02 MB, OUT: 0.01 MB)
   2019-08-02 15:34:11             Process: stagingd (IN: 2.95 MB, OUT: 0.12 MB)
   2019-08-02 15:34:19             Process: stagingd
   2019-08-02 15:34:36             Process: pstid (IN: 10.20 MB, OUT: 68.77 MB)
   2019-08-03 13:58:01             Process: pstid
   2019-08-07 10:40:04             iMessage lookup for account bergers.o79[@]gmail.com
   2020-02-06 14:52:22             Photostream lookup for account bogaardlisa803[@]gmail.com
   2021-02-08 10:42:40             iMessage lookup for account linakeller2203[@]gmail.com
   2021-02-08 11:27:23             Process: gatekeeperd (IN: 0.01 MB, OUT: 0.00 MB)
   2021-02-08 11:27:25             Process: bluetoothfs
   2021-02-08 12:27:21             Process: gatekeeperd




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FORENSIC TRACES FOR FRJRN1 - LÉNAÏG BREDOUX
   DATE (UTC)                      EVENT
   2019-07-08 05:22:05             iMessage lookup for account bergers.o79[@]gmail.com
   2019-10-10 12:39:17             File: Library/Preferences/com.apple.CrashReporter.plist from RootDomain
   2020-03-12 15:06:23             Process: frtipd (IN: 0.05 MB, OUT: 0.43 MB)
   2020-03-13 02:20:34             Process: frtipd
   2020-03-16 10:46:55             Process: comnetd (IN: 0.58 MB, OUT: 4.92 MB)
   2020-03-20 09:48:10             Process: comnetd
   2020-03-21 20:09:49             Process: comnetd
   2020-03-23 13:57:42             Process: netservcomd (IN: 0.01 MB, OUT: 0.06 MB)
   2020-03-23 21:10:16             Process: netservcomd
   2020-04-19 12:25:41             Process: setframed (IN: 0.23 MB, OUT: 2.00 MB)
   2020-04-20 21:32:18             Process: setframed
   2020-04-22 16:43:22             Process: launchrexd (IN: 0.50 MB, OUT: 4.14 MB)
   2020-04-27 20:01:46             Process: launchrexd
   2020-05-01 14:18:15             Process: nehelprd (IN: 4.24 MB, OUT: 52.75 MB)
   2020-05-03 00:57:11             Process: nehelprd
   2020-05-04 11:39:47             Process: msgacntd (IN: 3.21 MB, OUT: 34.59 MB)
   2020-05-06 12:52:13             Process: msgacntd
   2020-05-06 20:29:07             Process: msgacntd
   2020-07-07 15:04:34             Process: aggregatenotd (IN: 1.10 MB, OUT: 10.69 MB)
   2020-05-08 17:56:58             Process: aggregatenotd
   2020-05-09 10:21:18             Process: bundpwrd (IN: 1.37 MB, OUT: 9.63 MB)
   2020-05-09 16:52:05             Process: bundpwrd
   2020-05-12 05:27:20             Process: seraccountd (IN: 0.06 MB, OUT: 0.42 MB)
   2020-05-12 19:29:17             Process: seraccountd
   2020-05-13 16:06:41             Process: otpgrefd (IN: 1.28 MB, OUT: 13.78 MB)
   2020-05-13 17:19:07             Process: otpgrefd
   2020-05-15 12:23:30             Process: eventstorpd (IN: 0.01 MB, OUT: 0.06 MB)
   2020-05-16 18:00:50             Process: eventstorpd
   2020-05-16 18:12:29             Process: eventstorpd
   2020-05-17 14:42:23             Process: roleaboutd (IN: 6.54 MB, OUT: 69.61 MB)
   2020-05-20 11:38:45             Process: roleaboutd
   2020-05-20 21:01:24             Process: roleaboutd
   2020-05-21 14:54:20             Process: mptbd (IN: 0.70 MB, OUT: 8.14 MB)
   2020-05-23 16:05:30             Process: mptbd
   2020-05-23 22:58:10             Process: bh (IN: 4.93 MB, OUT: 0.61 MB)
   2020-05-24 15:44:39             Process: bh
   2020-05-24 15:46:51             Process: fservernetd (IN: 0.00 MB, OUT: 0.04 MB)
   2020-05-24 17:36:36             Process: fservernetd




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   DATE (UTC)                      EVENT
   2020-05-26 12:28:34             Process: brstaged (IN: 2.56 MB, OUT: 22.61 MB)
   2020-05-27 04:33:50             Process: brstaged
   2020-05-27 14:55:06             Process: ckkeyrollfd (IN: 0.01 MB, OUT: 0.09 MB)
   2020-05-27 16:58:52             Process: bh
   2020-05-27 18:00:50             Process: ckkeyrollfd
   2020-07-10 11:12:35             iMessage account lookup: bogaardlisa803[@]gmail.com




FORENSIC TRACES FOR FRJRN2
   DATE (UTC)                      EVENT
   2019-08-16 12:08:44             iMessage lookup for account bergers.o79[@]gmail.com
   2019-08-16 12:33:52             iMessage lookup for account bergers.o79[@]gmail\x00\x00om
                                   File created: Library/Preferences/com.apple.CrashReporter.plist from
   2019-08-16 12:37:55
                                   RootDomain
   2019-08-16 12:41:25             File created: Library/Preferences/roleaccountd.plist from RootDomain
   2019-08-16 12:41:36             Process: roleaccountd (IN: 0.01 MB, OUT: 0.01 MB)
   2019-08-16 12:41:52             Process: stagingd (IN: 1.46 MB, OUT: 0.09 MB)
   2019-08-16 12:49:21             Process: aggregatenotd
   2019-08-20 13:35:23             Process: aggregatenotd (IN: 11.07 MB, OUT: 45.52 MB)
   2019-08-21 14:10:48             Process: aggregatenotd




FORENSIC TRACES FOR FRJRN3 – EDWY PLENEL
   DATE (UTC)                      EVENT

   2019-07-05 11:23:29             File: Library/Preferences/com.apple.CrashReporter.plist from RootDomain
   2019-07-05 11:23:45             File created: Library/Preferences/roleaccountd.plist from RootDomain
   2019-07-05 11:23:51             Process: stagingd
   2019-07-05 11:24:19             Process: eventfssd
   2019-07-07 11:28:15             Process: eventfssd
   2019-07-09 10:39:41             Process: fservernetd
   2019-07-09 11:49:48             Process: fservernetd
   2019-07-12 11:12:24             Process: nehelprd
   2019-07-14 14:01:26             Process: nehelprd
   2019-07-20 12:18:30             Process: libbmanaged
   2019-08-11 14:03:11             Process: rlaccountd
   2019-08-13 17:34:40             Process: rlaccountd
   2019-08-19 13:21:02             Process: libbmanaged




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   DATE (UTC)                      EVENT

   2019-08-19 14:48:42             Process: libbmanaged
   2019-08-19 21:51:00             Process: libbmanaged
   2019-08-28 09:12:33             Process: roleaccountd
   2019-08-28 09:12:34             Process: stagingd
   2019-08-28 09:12:49             Process: stagingd
   2019-08-28 09:13:10             Process: boardframed
   2019-08-29 09:15:05             Process: boardframed
   2019-08-31 09:04:17             Process: boardframed
   2019-08-31 09:49:33             Process: boardframed
   2019-09-03 10:59:31             Process: launchafd
   2019-09-05 11:02:43             Process: launchafd
   2019-09-05 20:32:02             Process: launchafd




FORENSIC TRACES FOR FRJRN4 – BRUNO DELPORT
        DATE (UTC)                    EVENT
        2019-07-05 13:21:47           File created Library/Preferences/com.apple.CrashReporter.plist from
                                      RootDomain
        2019-07-05 13:21:53           File modified Library/Preferences/com.apple.CrashReporter.plist from
                                      RootDomain




FORENSIC TRACES FOR FRJRN5
DATE (UTC)                    EVENT
2019-08-16 12:19:54           iMessage lookup for account b\x00\x00gers.o79[@]gmail.com
2019-08-19 09:20:01           File created: Library/Preferences/com.apple.CrashReporter.plist from RootDomain
2019-08-19 09:20:30           File created: Library/Preferences/roleaccountd.plist from RootDomain
2019-08-19 09:20:45           Process: roleaccountd (IN: 0.01 MB, OUT: 0.00 MB)
2019-08-19 09:20:45           Process: stagingd (IN: 1.46 MB, OUT: 0.06 MB)
2019-08-19 09:20:50           Process: stagingd
2019-08-19 09:21:13           Process: bundpwrd (IN: 28.50 MB, OUT: 198.12 MB)
2019-08-21 05:36:00           Process: bundpwrd
2019-08-21 07:39:34           iMessage lookup for account bergers.o79[@]gmail.com




FORENSIC TRACES FOR FRPOI1
               DATE (UTC)                  EVENT
               2019-03-16 10:42:56         iMessage lookup for account bergers.o79[@]gmail.com
               2020-08-02 20:03:19         iMessage lookup for account naomiwerff772[@]gmail.com




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FORENSIC TRACES FOR FRPOI2 - FRANÇOIS DE RUGY
                DATE (UTC)                   EVENT
                2019-07-XX                   iMessage lookup for account bergers.o79[@]gmail.com




FORENSIC TRACES FOR FRPOI3 – PHILIPPE BOUYSSOU
               DATE (UTC)                  EVENT
               2021-07-06 12:20:01         iMessage lookup for account linakeller2203[@]gmail.com




FORENSIC TRACES FOR FRPOI4
                        DATE (UTC)    EVENT
                        2021-XX-XX    iMessage lookup for account linakeller2203[@]gmail.com




FORENSIC TRACES FOR FRPOI5 - OUBI BUCHRAYA
BACHIR
               DATE (UTC)                  EVENT
               2021-03-15 12:08:27         iMessage lookup for account linakeller2203[@]gmail.com
               2021-03-15 12:12:49         Traces related to iMessage exploitation
               2021-03-15 12:16:02C        File modified: Library/Caches from RootDomain




FORENSIC TRACES FOR HUJRN1 - ANDRÁS SZABÓ
      DATE (UTC)                     EVENT
      2019-06-13 11:15:40            File created: Library/Preferences/com.apple.CrashReporter.plist from
                                     RootDomain
      2019-06-13 11:15:53            File created: Library/Preferences/roleaccountd.plist from RootDomain
      2019-06-13 12:39:40            Process record deleted from ZPROCESS (IN: 3.69 MB, OUT: 27.39 MB)
      2019-06-15 08:06:27            Process record deleted from ZPROCESS (IN: 0.32 MB, OUT: 0.56 MB)
      2019-07-25 09:31:09            Process record deleted from ZPROCESS (IN: 7.80 MB, OUT: 6.43 MB)
      2019-08-16 10:13:19            Process record deleted from ZPROCESS (IN: 18 MB, OUT: 29.81 MB)
      2019-09-15 15:30:44            Process record deleted from ZPROCESS (IN: 1.27 MB, OUT: 3.34 MB)
      2019-09-17 06:33:24            Process record deleted from ZPROCESS (IN: 2.00 MB, OUT: 5.57 MB)
      2019-09-24 13:26:15            iMessage lookup for account jessicadavies1345[@]outlook.com
      2019-09-24 13:26:51            iMessage lookup for account emmadavies8266[@]gmail.com
      2019-09-24 13:32:10            Process: roleaccountd (IN: 0.02 MB, OUT: 0.003 MB)
      2019-09-24 13:32:11            Process: roleaccountd
      2019-09-24 13:32:13            Process: stagingd (IN: 4.03 MB, OUT: 0.19 MB)
      2019-09-24 13:32:23            Process: stagingd
      2019-09-26 14:32:25            Process record deleted from ZPROCESS (IN: 1.16 MB, OUT: 2.81 MB)




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      DATE (UTC)                   EVENT
      2019-10-24 05:40:33          Process record deleted from ZPROCESS (IN: 12.81 MB, OUT: 46 MB)




FORENSIC TRACES FOR HUJRN2 - SZABOLCS PANYI
        DATE (UTC)                  EVENT
        2019-04-04 05:33:02         File created: Library/Preferences/com.apple.CrashReporter.plist from
                                    RootDomain
        2019-04-04 05:33:12         File created: Library/Preferences/roleaccountd.plist from RootDomain
        2019-04-04 06:02:26         Process: libbmanaged (IN: 23.29 MB, OUT: 21.39 MB)
        2019-04-06 21:47:45         Process: libbmanaged
        2019-07-05 08:35:28         Process: ckeblld (IN: 45.44 MB, OUT: 118.06 MB)
        2019-07-12 20:49:11         Process: ckeblld
        2019-07-13 20:32:28         Process: ckeblld
        2019-07-15 12:02:37         iMessage lookup for account e\x00\x00adavies8266[@]gmail.com
                                    (emmadavies8266[@]gmail.com)
        2019-07-15 14:21:40         Process: accountpfd (IN: 0.88 MB, OUT: 1.77 MB)
        2019-07-16 14:25:11         Process: accountpfd
        2019-08-29 10:57:43         Process: roleaccountd (IN: 0.01 MB, OUT: 0.003 MB)
        2019-08-29 10:57:44         Process: stagingd (IN: 4.05 MB, OUT: 0.20 MB)
        2019-08-29 10:58:35         Process: launchrexd (IN: 0.03 MB, OUT: 0.01 MB)
        2019-09-03 07:54:26         Process: roleaccountd
        2019-09-03 07:54:28         Process: stagingd
        2019-09-03 07:54:51         Process: seraccountd (IN: 20.94 MB, OUT: 7.52 MB)
        2019-09-05 08:00:15         Process: seraccountd
        2019-09-05 13:26:38         Process: seraccountd
        2019-09-05 13:26:55         Process: misbrigd (IN: 10.12 MB, OUT: 8.13 MB)
        2019-09-06 13:27:04         Process: misbrigd
        2019-09-06 22:04:12         Process: misbrigd
        2019-09-10 06:09:04         iMessage lookup for account emmadavies8266[@]gmail.com
        2019-09-10 06:09:49         iMessage lookup for account jessicadavies1345[@]outlook.com
        2019-10-30 14:09:51         Process: nehelprd (IN: 23.45 MB, OUT: 8.64 MB)
        2019-11-04 14:27:48         Process: nehelprd
        2019-11-07 01:58:52         Process: nehelprd




FORENSIC TRACES FOR HUPOI1
        DATE (UTC)                  EVENT
        2018-06-01 12:33:08         Process: stagingd
        2018-06-01 12:33:08         Process: roleaccountd



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        DATE (UTC)                    EVENT
        2018-06-01 12:35:55           Process: fmld
        2018-06-05 18:21:35           Process: stagingd (IN: 7.17 MB, OUT: 0.01 MB)
        2018-06-08 14:42:05           Process: fmld (IN: 3.52 MB, OUT: 0.07 MB)
        2018-06-21 07:02:55           File created: Library/Preferences/com.apple.CrashReporter.plist from
                                      RootDomain
        2018-06-21 07:03:19           Process: roleaccountd (IN: 0.05 MB, OUT: 0.00 MB)
        2018-06-21 07:03:31           Process: stagingd
        2018-06-27 05:04:19           Thumper lookup for account k.williams.enny74[@]gmail.com
        2018-06-27 08:09:04           Process: bh (IN: 4.42 MB, OUT: 0.29 MB)
        2018-07-09 08:30:34           Process: bh
        2018-07-10 08:31:19           Process: fmld (IN: 22.54 MB, OUT: 64.62 MB)
        2018-07-10 09:40:37           Process: fmld




FORENSIC TRACES FOR HUPOI2 - ADRIEN BEAUDUIN
        DATE (UTC)                    EVENT
                                      File created: Library/Preferences/com.apple.CrashReporter.plist from
        2018-12-19 09:13:48
                                      RootDomain
        2018-12-19 09:15:57           File modified: Library/Caches from RootDomain
        2018-12-20 11:06:49           Thumper lookup for account k.williams.enny74[@]gmail.com




FORENSIC TRACES FOR HUPOI3
                    DATE (UTC)                EVENT
                    2018-06-01 10:12:49       IMessage lookup for k.williams.enny74[@]gmail.com




FORENSIC TRACES FOR INHRD1 - SAR GEELANI
   DATE (UTC)                      EVENT
   2017-07-05 15:01:28             Process: pcsd
   2017-11-30 09:26:33             Process: pcsd (IN: 24.09 MB, OUT: 211.43 MB)
   2017-12-19 06:48:00             Process: pcsd
   2018-02-13 12:46:10             SMS from +447797801009: United Nations launches online portal for the
                                   independence of Kashmir. To cast your online vote click here
                                   http://bit[.]ly/2o487h1 (https://signpetition[.]co/vU1zwaqFh)
   2018-02-15 12:06:01             SMS from +447797801009: BJP hatches conspiracy for a muslim free
                                   Jammu region through medical poisoning of muslims. http://bit[.]ly/2o95TNh
                                   (https://news-alert[.]org/TfteZB6wK)
   2018-02-16 09:44:46             SMS from +447797801009: Another incident showing Indian army beating
                                   librandu Kashmiri youth mercilessly to chant Pakistan Murdabad.
                                   http://bit[.]ly/2ob9QkO (https://news-alert[.]org/K9pAkFk3R)



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   DATE (UTC)                      EVENT
   2018-04-12 14:10:57             SMS from +447797801009: Organization of Islamic countries(OIC) launches
                                   online portal for the independence of Kashmir from India. For the detailed
                                   article, click here http://bit[.]ly/2Hk1UJE (https://news-
                                   alert[.]org/WW7G1EW2)
   2018-04-13 13:13:30             SMS from +447797801009: Global powers urge Indian leadership to
                                   concede the entire Jammu & Kashmir to Pakistan for regional peace and
                                   stability. For the detailed article, click here. https://news-alert[.]org/T1q4YjItT
   2018-04-16 10:52:26             SMS from +447797801009: Hot & sexy male & female escorts available at
                                   60% discount. To avail the service, please click on https://my-
                                   privacy[.]co/Ooboe7u
   2018-04-17 12:39:36             SMS from +447797801009: European Union leads its unconditional support
                                   to India over the issue of Kashmir during the current visit of PM Modi. For
                                   more details, click https://my-privacy[.]co/j2xgK558
   2018-04-20 13:36:02             SMS from +447797801009: India & America strategically conspiring for the
                                   failure of China Pakistan Economic Corridor(CPEC). For the detailed article,
                                   click here. https://my-privacy[.]co/ZOubFbXW
   2018-04-23 12:58:31             SMS from +447797801009: Syed Ali Shah Geelani comes out with 5 point
                                   proposal for India, Pak. http://bit[.]ly/2HkhW2L (https://news-
                                   alert[.]org/1M2VbKPeB)
   2018-04-27 08:17:38             SMS from +447797801009: Pakistan always stood like a rock guarding
                                   Kashmir cause says Geelani. http://bit[.]ly/2Fl7Dtq (https://news-
                                   alert.org/xdwWVvCP)
   2018-04-27 12:02:13             SMS from +447797801009: Yasin Malik to address press conference at
                                   UN.For detail news click at http://bit[.]ly/2FlNjIC (https://news-
                                   alert[.]org/CyCX97BO)
   2018-05-01 11:57:38             SMS from +447797801009: Pakistan strategically preparing to put the issue
                                   of Kashmir in International Court of Justice. Read full storey here
                                   http://bit[.]ly/2Fwg2dH (https://news-alert[.]org/AXJ1n6e)
   2018-05-02 12:36:16             SMS from +447797801009: Pakistan in all probability will become the next
                                   province of China through China Pakistan Economic Corridor (CPEC). For the
                                   detailed article, click here. https://news-alert[.]org/KYz4FG6
   2018-05-18 04:37:42             Process: fmld
   2018-05-24 04:18:31             Process: roleaccountd
   2018-05-24 04:18:41             Process: stagingd
   2018-07-20 14:05:14             Thumper lookup for account taylorjade0303[@]gmail.com
   2018-10-24 08:48:04             Process: fmld (IN: 208.63 MB, OUT: 3591.56 MB)
   2018-10-27 07:05:42             Process: roleaccountd (IN: 0.28 MB, OUT: 0.04 MB)
   2018-10-27 07:05:50             Process: stagingd (IN: 53.02 MB, OUT: 0.15 MB)
   2018-10-28 07:09:14             Process: fmld (IN: 1.84 MB, OUT: 110.30 MB)
   2018-10-29 07:16:51             Process: fmld (IN: 1.70 MB, OUT: 69.41 MB)
   2018-10-30 07:25:43             Process: fmld (IN: 1.25 MB, OUT: 4.15 MB)
   2018-10-31 07:29:37             Process: fmld (IN: 0.63 MB, OUT: 19.51 MB)
   2018-12-08 07:24:18             Process: fmld (IN: 9.88 MB, OUT: 150.38 MB)
   2018-12-10 06:23:11             Process: fmld



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   DATE (UTC)                      EVENT
   2018-12-27 09:44:30             Process: otpgrefd (IN: 1.66 MB, OUT: 20.07 MB)
   2018-12-28 09:08:32             Process: otpgrefd
   2018-12-31 06:37:59             Process: bfrgbd
   2019-01-02 06:45:14             Process: bfrgbd (IN: 3.02 MB, OUT: 59.12 MB)
   2019-01-02 15:34:37             Process: bfrgbd
   2019-01-03 07:13:41             Process: stagingd (IN: 12.96 MB, OUT: 0.05 MB)
   2019-01-03 07:20:50             Process: fservernetd (IN: 0.58 MB, OUT: 15.90 MB)
   2019-01-03 08:35:44             Process: fservernetd
   2019-01-05 05:28:58             Process: libtouchregd (IN: 1.04 MB, OUT: 41.43 MB)
   2019-01-05 05:33:02             Process: libtouchregd (IN: 0.00 MB, OUT: 0.38 MB)
   2019-01-07 06:06:22             Process: roleaccountd (IN: 0.05 MB, OUT: 0.01 MB)
   2019-01-07 06:09:43             Process: stagingd
   2019-01-07 06:11:34             Process: accountpfd (IN: 1.41 MB, OUT: 9.05 MB)
   2019-01-07 18:13:34             Process: accountpfd
   2019-01-25 07:26:52             Thumper lookup for account lee.85.holland[@]gmail.com
   2019-01-25 07:33:59             File created: Library/Preferences/com.apple.CrashReporter.plist from
                                   RootDomain
   2019-01-25 07:34:08             File created: Library/Preferences/com.apple.CrashReporter.plist from
                                   RootDomain
   2019-01-26 14:16:19             File created: Library/Preferences/com.apple.CrashReporter.plist from
                                   RootDomain
   2019-09-22 05:14:27             iMessage lookup for account bekkerfredi[@]gmail.com
   2019-09-27 09:20:58             SMS from +9159039000: Trump to mediate between India and Pakistan on
                                   Kashmir https://bit[.]ly/ecICPjk
   2019-09-27 09:32:59             Process: bh (IN: 1.47 MB, OUT: 0.09 MB)
   2019-09-27 09:33:49             Process: natgd (IN: 19.95 MB, OUT: 171.65 MB)
   2019-09-28 13:49:07             Process: natgd
   2019-10-15 08:40:38             SMS from +9156161940: Get Rs 100 off on recharge of your Tata Sky Id
                                   1093453759 https://todaysdeals4u[.]com/n7V7uA4X5
   2019-10-18 10:34:49             SMS from +9156161940: Avail extra benefits on recharge of your Tata Sky Id
                                   1093453759 https://todaysdeals4u[.]com/KjtvDBA
   2019-10-23 17:07:15             Process: frtipd (IN: 2.24 MB, OUT: 2.87 MB)
   2019-10-24 19:27:51             Process: frtipd




FORENSIC TRACES FOR INJRN1 – MANGALAM KESAVAN
VENU
       DATE (UTC)                    EVENT
       2021-02-16 18:40:27           Process: frtipd
       2021-02-22 21:34:35           Process: otpgrefd



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       DATE (UTC)                    EVENT
       2021-03-25 08:11:28           Process: boardframed
       2021-03-25 08:11:28           Process: comsercvd
       2021-05-15 05:06:16           Process: llmdwatchd
       2021-05-15 05:06:16           Process: aggregatenotd
       2021-05-21 19:17:37           Process: setframed
       2021-06-03 19:15:52           Process: seraccountd
       2021-06-07 07:09:16           Upgrade from iOS 14.4.2 to 14.6

       2021-06-11 14:02:14           Process: comsercvd
       2021-06-11 14:02:14           Process: Diagnostics-2543
       2021-06-16 05:53:28           Process: actmanaged
       2021-06-16 05:53:28           Process: nehelprd
       2021-06-16 05:53:29           Process: cfprefssd
       2021-06-16 05:58:43           Process: actmanaged
       2021-06-16 06:18:04           Process: actmanaged
       2021-06-16 07:01:03           Process: actmanaged
       2021-06-16 07:16:45           Process: cfprefssd
       2021-06-16 07:16:45           Process: nehelprd
       2021-06-23 13:39:51           Process record deleted from ZPROCESS (IN: 0.20 MB, OUT: 2.04 MB)
       2021-06-27 03:27:12           iMessage lookup for account herbruud2[@]gmail.com
       2021-06-27 03:49:51           Process: corecomnetd (IN: 1.25 MB, OUT: 13.20 MB)
       2021-06-28 11:11:36           Process: corecomnetd (IN: 0.03, OUT: 0.04 MB)
       2021-06-29 07:26:55           Process: corecomnetd




FORENSIC TRACES FOR INJRN2 - SUSHANT SINGH
   DATE (UTC)                      EVENT
   2021-03-31 13:45:32             Process: CommsCenterRootHelper (IN: 0.01 MB, OUT: 4.41 KB)
   2021-03-31 13:45:46             Process: CommsCenterRootHelper
   2021-04-07 09:34:40             Process: eventfssd
   2021-04-07 09:34:40             Process: locserviced
   2021-04-13 08:52:18             Process: accountpfd
   2021-04-13 08:52:18             Process: fservernetd
   2021-04-19 15:49:38             Process: otpgrefd
   2021-04-19 15:49:38             Process: ckeblld
   2021-04-26 13:54:30             Process record deleted from ZPROCESS (IN: 4.24 MB, OUT: 2.19 MB)
   2021-04-27 03:34:16             Process: comsercvd
   2021-06-05 13:36:54             Process record deleted from ZPROCESS (IN: 0.11 MB, OUT:
   2021-06-06 13:38:51             Process record deleted from ZPROCESS (IN: 0.10 MB, OUT: 0.11 MB)




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   DATE (UTC)                      EVENT
   2021-06-07 13:41:51             Process record deleted from ZPROCESS (IN: 0.16 MB, OUT: 0.17 MB)
   2021-06-08 13:42:25             Process record deleted from ZPROCESS (IN: 0.11MB, OUT: 0.13 MB)
   2021-06-10 13:42:35             Process record deleted from ZPROCESS (IN: 0.10 MB, OUT: 0.11 MB)
   2021-06-12 19:09:37             Process: faskeepd
   2021-06-12 19:09:37             Process: logseld
   2021-06-18 09:40:45             Process record deleted from ZPROCESS (IN: 0.20 MB, OUT: 0.23 MB)
   2021-06-19 14:25:16             Process record deleted from ZPROCESS (IN: 0.04 MB, OUT:
   2021-06-19 17:05:21             Process: xpccfd
   2021-06-19 17:05:21             Process: pstid
   2021-06-21 05:29:38             iMessage lookup for account herbruud2[@]gmail.com
   2021-06-21 05:56:55             Process: bfrgbd
   2021-06-21 05:56:55             Process: msgacntd
   2021-06-21 05:56:55             Process: CommsCenterRootHelper
   2021-06-21 06:29:13             Process: bfrgbd
   2021-06-21 06:59:25             Process: bfrgbd
   2021-06-21 08:22:27             Process: bfrgbd (IN: 1.02 MB, OUT: 2.25 MB)
   2021-06-21 13:33:03             Process: bfrgbd
   2021-06-21 13:33:03             Process: msgacntd
   2021-06-21 13:33:03             Process: CommsCenterRootHelper
   2021-06-21 13:34:01             Process: bfrgbd
   2021-06-21 13:34:01             Process: msgacntd
   2021-06-21 13:34:01             Process: CommsCenterRootHelper
   2021-06-22 09:47:01             Process: bfrgbd (IN: 0.50 MB, OUT: 0.65 MB)
   2021-06-22 14:06:24             Process: bfrgbd
   2021-06-22 14:06:24             Process: msgacntd
   2021-06-22 14:06:24             Process: CommsCenterRootHelper
   2021-06-23 09:50:46             Process: bfrgbd (IN: 0.86 MB, OUT: 1.05 MB)
   2021-06-23 15:02:35             Process: bfrgbd
   2021-06-23 15:02:35             Process: msgacntd
   2021-06-23 15:02:35             Process: CommsCenterRootHelper
   2021-06-24 09:50:51             Process: bfrgbd (IN: 0.44 MB, OUT: 60.72 MB)
   2021-06-24 15:02:23             Process: bfrgbd
   2021-06-24 15:02:23             Process: msgacntd
   2021-06-24 15:02:23             Process: CommsCenterRootHelper
   2021-06-25 09:59:00             Process: bfrgbd (IN: 0.74 MN, OUT: 5.53 MB)
   2021-06-25 15:03:09             Process: bfrgbd
   2021-06-25 15:03:09             Process: msgacntd
   2021-06-25 15:03:09             Process: CommsCenterRootHelper




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   DATE (UTC)                      EVENT
   2021-06-26 13:04:37             Process: bfrgbd (IN: 0.08 MB, OUT: 0.09 MB)
   2021-06-26 16:18:41             Process: bfrgbd
   2021-06-26 16:18:41             Process: msgacntd
   2021-06-26 16:18:41             Process: CommsCenterRootHelper
   2021-06-26 16:22:12             Process: bfrgbd
   2021-06-26 16:22:12             Process: msgacntd
   2021-06-26 16:22:12             Process: CommsCenterRootHelper
   2021-06-27 13:34:07             Process: bfrgbd (IN: 0.91 MB, OUT: 1.29 MB)
   2021-06-28 00:04:15             Process: bfrgbd
   2021-06-28 00:04:15             Process: msgacntd
   2021-06-28 00:04:15             Process: CommsCenterRootHelper
   2021-06-28 13:37:38             Process: bfrgbd (IN: 0.43 MB, OUT: 0.60 MB)
   2021-06-29 06:39:31             Process: bfrgbd
   2021-06-29 06:39:31             Process: msgacntd
   2021-06-29 06:39:31             Process: CommsCenterRootHelper
   2021-06-29 06:40:42             Process: bfrgbd
   2021-06-29 06:40:42             Process: msgacntd
   2021-06-29 06:40:42             Process: CommsCenterRootHelper
   2021-06-29 14:12:36             Process: bfrgbd (IN: 0.14 MB, OUT: 0.17 MB)
   2021-06-30 07:15:33             Process: bfrgbd
   2021-06-30 07:15:33             Process: msgacntd
   2021-06-30 07:15:33             Process: CommsCenterRootHelper
   2021-06-30 14:15:33             Process: bfrgbd (IN: 0.61 MB, OUT: 1.90 MB)
   2021-07-01 14:19:26             Process: bfrgbd (IN: 0.30 MB, OUT: 0.46 MB)
   2021-07-01 14:33:08             Process: bfrgbd
   2021-07-01 14:33:08             Process: msgacntd
   2021-07-01 14:33:08             Process: CommsCenterRootHelper
   2021-07-02 14:20:32             Process: bfrgbd (IN: 0.43 MB, OUT: 0.50 MB)
   2021-07-03 04:14:29             Process: bfrgbd
   2021-07-03 04:14:29             Process: msgacntd
   2021-07-03 04:14:29             Process: CommsCenterRootHelper
   2021-07-03 14:27:24             Process: bfrgbd (IN: 0.03 MB, OUT: 0.02 MB)
   2021-07-04 05:34:57             Process: bfrgbd
   2021-07-04 05:34:57             Process: msgacntd
   2021-07-04 05:34:57             Process: CommsCenterRootHelper
   2021-07-04 14:39:00             Process: bfrgbd (IN: 0.77 MB, OUT: 0.91 MB)
   2021-07-05 09:40:02             Process: bfrgbd
   2021-07-05 12:12:01             Process: bfrgbd




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   DATE (UTC)                      EVENT
   2021-07-05 12:12:01             Process: msgacntd
   2021-07-05 12:12:01             Process: CommsCenterRootHelper
   2021-07-05 12:13:31             Process: bfrgbd
   2021-07-05 12:13:31             Process: msgacntd
   2021-07-05 12:13:31             Process: CommsCenterRootHelper
   2021-07-05 12:50:32             Process: msgacntd
   2021-07-05 12:50:32             Process: bfrgbd




FORENSIC TRACES FOR INJRN3 – SNM ABDI
        DATE (UTC)                    EVENT
        2019-04-02 04:51:19           File created: Library/Preferences/com.apple.CrashReporter.plist from
                                      RootDomain
        2019-04-02 04:51:40           File created Library/Preferences/roleaccountd.plist from RootDomain
        2019-04-02 04:51:45           Process: roleaccountd
        2019-04-02 04:51:50           Process: stagingd
        2019-04-26 03:27:40           Process: fdlibframed
        2019-04-28 04:00:46           Process: fdlibframed (IN: 7.90 MB, OUT: 25.36 MB)
        2019-04-29 12:56:34           Process: fdlibframed
        2019-05-27 04:46:07           Process: xpccfd
        2019-05-28 04:48:01           Process: xpccfd (IN: 5.24 MB, OUT: 15.32 MB)
        2019-07-04 03:33:11           Process: ckeblld (IN: 7.91 MB, OUT: 33.05 MB)
        2019-07-05 01:22:18           Process: ckeblld
        2019-07-05 09:22:54           Process: lobbrogd (IN: 3.76 MB, OUT: 15.59 MB)
        2019-07-06 03:20:03           Process: lobbrogd
        2019-07-08 05:56:52           Process: xpccfd (IN: 5.69 MB, OUT: 16.14 MB)
        2019-07-10 01:24:04           Process: xpccfd
        2019-07-11 06:46:37           Process: pstid (IN: 3.59 MN, OUT: 12.08 MB)
        2019-07-11 13:41:50           Process: pstid
        2019-07-12 09:07:18           Process: roleaccountd (IN: 0.03 MB, OUT: 0.02 MB)
        2019-07-12 09:08:07           Process: boardframed (IN: 6.24 MB, OUT: 32.14 MB)
        2019-07-12 14:15:01           Process: boardframed
        2019-07-15 06:07:28           Process: stagingd (IN: 8.49 MB, OUT: 0.5 MB)
        2019-07-15 18:08:57           Process: ckkeyrollfd
        2019-10-19 04:32:33           Process: roleaccountd (IN: 0.04 MB, OUT: 0.02 MB)
        2019-10-19 04:33:46           Process: launchafd (IN: 1.28 MB, OUT: 6.48 MB)
        2019-10-19 06:10:04           Process: launchafd
        2019-10-21 07:07:16           Process: netservcomd (IN: 0.22 MB, OUT: 1.26 MB)




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        DATE (UTC)                 EVENT
        2019-10-21 07:31:16        Process: netservcomd
        2019-10-23 03:48:40        Process: roleaccountd
        2019-10-23 03:48:47        Process: stagingd (IN: 7.03 MB, OUT: 0.41 MB)
        2019-10-23 03:49:02        Process: stagingd
        2019-10-23 03:49:24        Process: misbrigd
        2019-10-24 03:50:28        Process: misbrigd (IN: 15.79 MB, OUT: 99.28 MB)
        2019-12-22 11:15:30        Process: netservcomd
        2019-12-22 11:15:30        Process: launchafd
        2019-12-22 11:15:30        Process: misbrigd




FORENSIC TRACES FOR INJRN4 – SIDDHARTH
VARADARAJAN
         DATE (UTC)                EVENT
         2018-04-06 08:17:14       Process: roleaccountd (IN: 0.03 MB, OUT: 0.01 MB)
         2018-04-06 08:17:22       Process: stagingd
         2018-04-06 08:18:47       Process: pcsd
         2018-04-24 07:57:53       Process: stagingd (IN: 4.15 MB, OUT: 0.02 MB)
         2018-04-24 07:57:56       Process: roleaccountd
         2018-04-24 07:58:16       Process: stagingd
         2018-04-26 05:35:12       Process: pcsd (IN: 16.30 MB, OUT: 329.17 MB)
         2018-04-26 12:24:42       Process: pcsd
         2018-04-27 04:41:37       File created Library/Preferences/com.apple.CrashReporter.plist in
                                   RootDomain




FORENSIC TRACES FOR INJRN5 – PARANJOY GUHA
THAKURTA
        DATE (UTC)                 EVENT
        2018-04-04 05:33:47        Process: roleaccountd
        2018-04-04 05:33:49        Process: stagingd
        2018-05-15 07:46:30        Process: pcsd
        2018-05-22 04:17:46        Process: roleaccountd (IN: 0.04 MB, OUT: 0.01 MB)
        2018-05-22 04:17:59        Process: stagingd (IN: 5.18 MB, OUT: 0.02 MB)
        2018-05-22 04:18:08        Process: pcsd (IN: 3.25 MB, OUT: 20.54 MB)

        2018-05-22 04:18:17        Process: pcsd
        2018-05-22 04:18:48        Process: fmld




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        DATE (UTC)                   EVENT
        2018-06-20 10:44:14          Process: roleaccountd
        2018-06-20 10:44:31          Process: stagingd
        2018-07-25 03:58:42          File created Library/Preferences/com.apple.CrashReporter.plist from
                                     RootDomain
        2018-07-29 13:07:51          Process: fmld (IN: 55.21 MB, OUT: 417.58 MB)
        2018-07-30 11:07:56          Process: fmld




FORENSIC TRACES FOR INJRN6 - SMITA SHARMA
        DATE (UTC)                   EVENT
        2018-06-25 17:31:37          iMessage lookup for taylorjade0303[@]gmail.com
        2018-07-20 11:11:49          iMessage lookup for lee.85.holland[@]gmail.com




FORENSIC TRACES FOR INJRN7
        DATE (UTC)                   EVENT
        2019-06-12 08:48:04          SMS “R&AW and IB chief to get three months extension. Read full
                                     story https://globalnews247[.]net/3BMw9Zj”




FORENSIC TRACES FOR INPOI1 – PRASHANT KISHOR
 DATE (UTC)                        EVENT
 2018-06-21 13:23:30               Thumper lookup for account taylorjade0303[@]gmail.com
 2018-09-06 09:11:49               Thumper lookup for account lee.85.holland[@]gmail.com
 2021-04-28 03:31:39               Process: ReminderIntentsUIExtension (IN: 0.01 MB, OUT: 0.00 MB)
 2021-04-28 03:31:39               Process: ReminderIntentsUIExtension
 2021-04-28 03:31:45               Process: ReminderIntentsUIExtension
 2021-06-11 12:45:48               Process record deleted from ZPROCESS (IN: 0.01 MB, OUT: 0.00 MB)
 2021-06-11 12:46:22               Process record deleted from ZPROCESS (IN: 1.79 MB, OUT: 0.31 MB)
 2021-06-11 12:46:47               Process record deleted from ZPROCESS (IN: 12.94 MB, OUT: 145.88 MB)
 2021-06-14 06:17:10               Process record deleted from ZPROCESS (IN: 2.36 MB, OUT: 2.76 MB)
 2021-06-15 06:21:28               Process record deleted from ZPROCESS (IN: 1.05 MB, OUT: 1.29 MB)
 2021-06-16 13:47:51               Process record deleted from ZPROCESS (IN: 0.16 MB, OUT: 0.16 MB)
 2021-06-18 13:52:14               Process record deleted from ZPROCESS (IN: 0.01 MB, OUT: 0.00 MB)
 2021-06-18 13:53:37               Process record deleted from ZPROCESS (IN: 1.79 MB, OUT: 0.31 MB)
 2021-06-18 13:58:41               Process record deleted from ZPROCESS (IN: 13.63 MB, OUT: 172.99 MB)
 2021-06-19 14:16:20               Process record deleted from ZPROCESS (IN: 0.87 MB, OUT: 1.02 MB)
 2021-06-21 05:44:29               Process record deleted from ZPROCESS (IN: 1.81 MB, OUT: 2.58 MB)




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 DATE (UTC)                        EVENT
 2021-06-22 05:45:29               Process record deleted from ZPROCESS (IN: 1.19 MB, OUT: 1.38 MB)
 2021-06-23 05:49:37               Process record deleted from ZPROCESS (IN: 0.98 MB, OUT: 1.19 MB)
 2021-06-24 05:57:02               Process record deleted from ZPROCESS (IN: 2.66 MB, OUT: 24.15 MB)
 2021-06-25 05:57:03               Process record deleted from ZPROCESS (IN: 1.98 MB, OUT: 2.77 MB)
 2021-06-26 06:01:26               Process record deleted from ZPROCESS (IN: 0.35 MB, OUT: 0.47 MB)
 2021-06-27 06:06:59               Process record deleted from ZPROCESS (IN: 0.42 MB, OUT: 0.49 MB)
 2021-06-28 13:19:57               Process record deleted from ZPROCESS (IN: 1.12 MB, OUT: 7.33 MB)
 2021-06-30 04:50:04               Process record deleted from ZPROCESS (IN: 1.51 MB, OUT: 6.50 MB)
 2021-07-01 04:50:49               Process record deleted from ZPROCESS (IN: 0.52 MB, OUT: 0.60 MB)
 2021-07-02 05:08:42               Process record deleted from ZPROCESS (IN: 1.48 MB, OUT: 1.73 MB)
 2021-07-03 05:33:23               Process record deleted from ZPROCESS (IN: 1.00 MB, OUT: 2.03 MB)
 2021-07-05 11:44:29               Traces related to iMessage attack
 2021-07-05 11:48:34               File created: Library/Caches from RootDomain
 2021-07-05 11:48:35               Process record deleted from ZPROCESS (IN: 0.01 MB, OUT: 0.00 MB)
 2021-07-05 11:49:27               Process: CommsCenterRootHelper (IN: 1.88 MB, OUT: 0.31 MB)
 2021-07-05 11:49:27               Process: CommsCenterRootHelper
 2021-07-05 11:50:19               Process record deleted from ZPROCESS (IN: 7.57 MB, OUT: 90.71 MB)
 2021-07-07 04:11:55               Process record deleted from ZPROCESS (IN: 0.62 MB, OUT: 0.77 MB)
 2021-07-08 12:21:05               iMessage lookup for account herbruud2[@]gmail.com
 2021-07-08 12:27:04               Process record deleted from ZPROCESS (IN: 0.01 MB, OUT: 0.00 MB)
 2021-07-08 12:27:18               Process record deleted from ZPROCESS (IN: 1.88 MB, OUT: 0.23 MB)
 2021-07-08 12:28:14               Process: smmsgingd (IN: 6.94 MB, OUT: 82.77 MB)
 2021-07-09 12:59:49               Process: smmsgingd (IN: 0.45 MB, OUT: 0.51 MB)
 2021-07-12 08:45:26               Process: smmsgingd (IN: 2.69 MB, OUT: 7.99 MB)
 2021-07-13 08:47:45               Process: smmsgingd (IN: 1.23 MB, OUT: 8.63 MB)
 2021-07-14 09:26:50               Process: smmsgingd (IN: 0.77 MB, OUT: 2.28 MB)
 2021-07-14 13:17:15               Process: smmsgingd




FORENSIC TRACES FOR INPOI2
        DATE (UTC)                   EVENT
        2019-10-18 03:59:01          iMessage lookup for bekkerfredi[@]gmail.com




FORENSIC TRACES FOR KASH01 - HATICE CENGIZ
        DATE (UTC)                   EVENT
        2018-10-06 00:33:28          File created: Library/Preferences/com.apple.CrashReporter.plist from
                                     RootDomain
        2018-10-06 07:30:13          Process: fmld (IN: 33.27 MB, OUT: 324.72 MB)



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        DATE (UTC)                      EVENT
        2018-10-09 07:12:39             Process: bh (IN: 1.49 MB, OUT: 0.95 MB)
        2018-10-09 07:13:07             Process: bh
        2018-10-12 08:30:33             Process: fmld
        2018-10-12 21:23:23             Process: fmld
        2019-06-02 16:05:23             iMessage lookup for account vincent.dahl76[@]gmail.com




FORENSIC TRACES FOR KASH02 – RODNEY DIXON
        DATE (UTC)                      EVENT
        2019-04-29 10:50:44             iMessage lookup for account vincent.dahl76[@]gmail.com




FORENSIC TRACES FOR KASH03 – WADAH KHANFAR
PHONE 1:
   DATE (UTC)                      EVENT
   2019-11-02 17:19:22             Process record deleted from ZPROCESS
   2019-11-02 17:19:29             File created Library/Preferences/com.apple.CrashReporter.plist by RootDomain
   2019-11-02 17:20:23             Process record deleted from ZPROCESS
   2021-04-11 08:35:25             Process: ReminderIntentsUIExtension (IN: 0.01 MB, OUT: 0.00 MB)
   2021-04-11 08:35:33             Process: ReminderIntentsUIExtension
   2021-06-30 08:58:04             iMessage lookup for account oskarschalcher[@]outlook.com
   2021-06-30 09:34:34             Process: com.apple.Mappit.SnapshotService (IN: 0.02 MB, OUT: 0.01 MB)
   2021-06-30 09:34:40             Process: com.apple.Mappit.SnapshotService



PHONE 2:
                        DATE (UTC)              EVENT
                        2021-04-02 10:43:27     iMessage lookup for oskarschalcher[@]outlook.com




FORENSIC TRACES FOR KASH04 – HANAN EL ATR
 DATE (UTC)               EVENT
 2017-11-08               Malicious SMS from VERIFY: WhatsApp Web for [REDACTED] is now active on
 10:22                    CHROME in ABU DHABI. Not you? Click here: hxxps://noonstore[.]sale/tkYHFbE
 2017-11-15               Malicious SMS from VERIFY: Emirates AIrline changing the game in first class travel:
 09:01                    hxxp://bit[.]ly/2A00EI7




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     DATE (UTC)           EVENT
     2017-11-19           Malicious SMS from VERIFY: Dear Hanan Elatr, Nada shared a photo with you on
                          Photobucket! Click here to view it and download our app. hxxp://bit[.]ly/AbzvEMS
     2018-11-26           Malicious link in browsing history: https://done[.]events/TajbxOGh5
     17:16:48
     2017-11-27           Malicious SMS: Dear HANA you have a package from CAIRO via Aramex, enter PIN
     08:48                3483 and choose delivery location on our map: https://bit[.]ly/2zxnwOF
     2018-04-15           Malicious SMS from SMSINFO: MONA ELATR shared a photo with you on Photobucket!
     09:33                Click here to view it and download our app: https://myfiles[.]photo/sVIKHJE




FORENSIC TRACES FOR MOJRN1 – HICHAM MANSOURI
            DATE (UTC)                     EVENT
            2021-02-04 10:31:36            Process: CommsCenterRootHelper (IN: 0.01 MB, OUT: 0.00 MB)
            2021-02-11 13:45:07            Process: CommsCenterRootHelper
            2021-04-02 10:15:38            iMessage lookup for account linakeller2203[@]gmail.com




FORENSIC TRACES FOR MXJRN1
     DATE (UTC)          EVENT
                         SMS: Hola Alvaro unicamente paso a saludarte y enviarte esta nota de the guardian que
     2016-08-03
                         parece importante retomar: http://bit[.]ly/2ayGnMm
     21:52:00
                         (https://smsmensaje[.]mx/5901888s/)



FORENSIC TRACES FOR MXJRN2 – CARMEN ARISTEGUI
These Pegasus attack messages were original discovered and published as part of collaborative investigation
between Citizen Lab27, R3D28, SocialTic and Article 19.

     DATE (UTC)         EVENT
     2014-11-20         SMS from +525536438524: El siguiente mensaje esta marcado como urgente y no se
     03:10:04           recibio correctamente. http://smsmensaje[.]mx/5103285s/
     2014-12-17         SMS from +525511393977: El siguiente mensaje no ha sido enviado
     19:32:13           http://smscentro[.]com/7984947s/
     2015-01-06         SMS from +525512350872: El siguiente mensaje no ha sido enviado
     18:29:53           http://smscentro[.]com/4064303s/
     2015-01-09         SMS from +525512350872: El siguiente mensaje no ha sido enviado
     19:45:57           http://tinyurl[.]com/l8cwcc5 (http://smscentro[.]com/1097486s/)
     2015-01-13         SMS from +525511393877: El siguiente mensaje no ha sido enviado
     01:59:19           http://bit[.]ly/1z2NQdh (http://smscentro[.]com/9480260s/)
     2015-03-26         SMS from +525585292665: El numero 5535606234 le ha enviado un mensaje de texto
     18:15:59           que no se recibio. Entre a http://iusacell-movil[.]com[.]mx/6731340s/ para ver el sms


27
  John Scott-Railton and others, Reckless Exploit: Mexican Journalists, Lawyers, and a Child Targeted with NSO Spyware, Citizen Lab, 19
June 2017, citizenlab.ca/2017/06/reckless-exploit-mexico-nso.
28
  Article 19 and others, Gobierno Espía: Vigilancia sistemática a periodistas y defensores de derechos humanos en México, June 2017,
r3d.mx/wp-content/uploads/GOBIERNO-ESPIA-2017.pdf.




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 DATE (UTC)             EVENT
 2015-04-12             SMS from +525525715066: Notificacion de compra con tarjeta **** monto $3,500.00
 22:41:24               M.N, ver detalles en: http://smsmensaje[.]mx/1493024s/
 2015-05-08             SMS from +525525715066: Aviso de vencimiento de pago asociado a tu servicio con
 19:49:23               cargo a tu tarjeta ****, ver mas detalles: http://smsmensaje[.]mx/6445761s/
 2015-05-08             SMS from +525585292665: El siguiente mensaje esta marcado como urgente y no se
 23:19:14               recibio correctamente, recuperalo en .. http://smsmensaje[.]mx/3863925s/
 2015-05-09             SMS from +525525715066: Haz realizado un Retiro/Compra en tienda departamental
 01:24:29               **** monto $2,500.00 M.N, ver detalles http://smsmensaje[.]mx/9936510s/
 2015-05-09             SMS from +525585292665: Haz realizado un Retiro/Compra en tienda departamental
 02:42:26               **** monto $2,500.00 M.N, ver detalles http://smsmensaje[.]mx/1796758s/
                        SMS from +525585292665: UNOTV[.]com/ AUDI ENTRE LOS PRINCIPALES AUTOS
 2015-05-10
                        CON PROBLEMAS EN LA TRANSMICION VERIFICA LA LISTA DE ELLOS:
 00:09:55
                        http://unonoticias[.]net/1291412s/
 2015-05-11             SMS from +525585292665: El siguiente mensaje esta marcado como urgente y no se
 20:19:20               recibio correctamente, recuperalo en .. http://smsmensaje[.]mx/6713776s/
 2015-05-12             SMS from +525585292665: El siguiente mensaje esta marcado como urgente y no se
 02:05:06               recibio correctamente, recuperalo en .. http://smsmensaje[.]mx/6318147s/
 2015-05-12             SMS from +525525715066: Estimado cliente informamos que presentas un problema de
 04:03:33               pago asociado a tu servicio, ver detalles.. http://smsmensaje[.]mx/8884678s/
 2015-05-12             SMS from +525585292665: Alcanzaste la tarifa premium de IUSACELL $0.30 Min a
 22:42:53               Celular y $0.10 Nacional, codigo 2207 y activalo ya... http://smsmensaje[.]mx/3432773s/
 2015-05-14             SMS from +525585292665: Alcanzaste la tarifa premium de IUSACELL $0.30 Min a
 00:37:27               Celular y $0.10 Nacional, codigo 2207 activalo ya... http://smsmensaje[.]mx/7534402s/
 2015-05-14             SMS from +525525715066: UNONOTICIAS. En encuesta revelan las 3 posiciones
 02:55:35               sexuales favoritas de las mujeres, ver nota en: http://unonoticias[.]net/6218095s/
 2015-05-14             SMS from +525585292665: Retiro/Compra en tienda departamental $4,000.00 M.N
 03:24:41               13/05/2015 20:10 hrs ,ver detalles en: http://smsmensaje[.]mx/9550014s/
 2015-05-14             SMS from +525585292665: El numero +525541337879 le ha mandado un mensaje de
 19:56:23               texto que ser ecibio incompleto. Ver mensaje en: http://smsmensaje[.]mx/5670989s/
 2015-05-15             SMS from +525585292665: UNOTV. Detectan irregularidades en caso Aristegui, ver nota
 01:18:30               completa.. http://unonoticias[.]net/4347580s/
 2015-06-05             SMS from +525585292665: UNOTV. Que depara el futuro para MVS y cual es el camino
 01:56:27               de Carmen Aristegui? ver nota completa.. http://unonoticias[.]net/9275690s/
                        SMS from +525585292665: TELCEL[.]com/ RECIBISTE CORRECTAMENTE TU FACTURA
 2015-07-26
                        ELECTRONICA VERIFICA DETALLES DE TU COMPRA: http://ideas-
 03:05:05
                        telcel.com[.]mx/9872742s/
 2015-07-26             SMS from +525525715066: has realizado un Retiro/Compra Tarjeta**** M.N monto
 12:34:59               $3,500.00 verifica detalles de operacion: http://smsmensaje[.]mx/6156234s/
 2015-07-26             SMS from +525525715066: UNOTV.com/ ANONYMUS ANUNCIA QUE ATACARA
 15:23:35               PAGINA DE ARISTEGUI VER DETALLES: http://unonoticias[.]net/9250302s/
                        SMS from +525525715066: IUSACELL/ Estimado cliente su factura esta lista,
 2015-08-20
                        agradeceremos pago puntual por $17401.25 Detalles: http://iusacell-
 19:20:46
                        movil[.]com[.]mx/8595070s/
                        SMS from +525525715066: USEMBASSY.GOV/ DETECTAMOS UN PROBLEMA CON TU
 2015-08-20
                        VISA POR FAVOR ACUDE PRONTAMENTE A LA EMBAJADA. VER DETALLES:
 19:34:05
                        http://bit[.]ly/1MAAWrO (http://smsmensaje[.]mx/9439115s/)
                        SMS from +525525715066: IUSACELL.com/ EL SIGUIENTE MENSAJE ESTA MARCADO
 2015-08-23
                        COMO URGENTE REVISALO DESDE NUESTRO PORTAL VER http://iusacell-
 04:58:47
                        movil[.]com[.]mx/7918310s/




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 DATE (UTC)             EVENT
                        SMS from +525585292665: UNOTV[.]com/ FAMILIA DE CHAPO SE REFUGIA EN
 2015-08-24
                        GRANDES RESIDENCIAS EN DF ENTRE ELLAS SN JERONIMO VER DONDE:
 03:03:48
                        http://unonoticias[.]net/6353793s/
                        SMS from +525525715066: ALERTA AMBER DF/ COOPERACION PARA LOCALIZAR A
 2015-08-24
                        NINO DE 9 ANOS, DESAPARECIDO EN LA COLONIA SAN JERONIMO. DETALLES:
 15:31:38
                        http://bit[.]ly/1EQYOkG (http://mymensaje-sms[.]com/6649365s/)
                        SMS from +525585292665: ALERTA AMBER DF/ COOPERACION PARA LOCALIZAR A
 2015-08-24
                        NINO DE 9 ANOS, DESAPARECIDO EN LA COLONIA SAN JERONIMO. DETALLES:
 15:31:59
                        http://bit[.]ly/1EQYSB1 (http://mymensaje-sms[.]com/5186565s/)
                        SMS from +525585292665: Hola Carmen, solo para desearte una excelente tarde y
 2015-09-02
                        compartirte la nota que publica proceso sobre el 3er informe: http://bit[.]ly/1JNTfox
 18:43:23
                        (http://twiitter[.]com.mx/8527373s/)
                        SMS from +525585292665: IUSACELL[.]com / DESCUBRE LA NUEVA TELEFONIA Y
 2015-09-05
                        CONOCE LAS APLICACIONES MAS SEGURAS PARA TU SMARTPHONE SEGUN EL
 15:39:41
                        PENTAGONO http://bit[.]ly/1IQhzFw (http://iusacell-movil[.]com.mx/5726967s/)
                        SMS from +525585292665: Queridisima Carmen en la madrugada fallecio mi padre,
 2015-09-25
                        estamos muy devastados. Mando datos del funeral ojala puedas ir: http://bit[.]ly/1KDGbSR
 18:47:50
                        (http://smsmensaje[.]mx/4966295s/)
                        SMS from +525585292665: chatita como estas, espero que bien este mi numero nuevo
 2015-10-17
                        checa esta noticia la subi a drive checala para borrarla urge http://tinyurl[.]com/pfwmr88
 18:12:07
                        (https://googleplay-store[.]com/7863372s/)
                        SMS from +525525715066: Hola te envio invitacion electronica con detalles por motivo
 2015-10-25
                        de mi fiesta de disfraces espero contar contigo alonso: http://tinyurl[.]com/o2tq8rl
 23:39:29
                        (https://smsmensaje[.]mx/8623600s/)
                        SMS from +525552899427: Carmen hace 5 dias que no aparece mi hija te agradecere
 2016-02-09
                        mucho que compartas su foto, estamos desesperados: http://bit[.]ly/1KDekJ9
 17:46:42
                        (https://smsmensaje[.]mx/5957475s/)
                        SMS from +525552899427: Querida Carmen fallecio mi hermano en un accidente, estoy
 2016-02-10
                        devastada, envio datos del velorio, espero asistas: http://bit[.]ly/1TTjm6D
 23:10:59
                        (https://smsmensaje[.]mx/6056487s)
                        SMS from +525568850176: Hace 7 dias desaparecio mi hija de 8 a?os en ecatepec, por
 2016-02-11
                        favor ayudame a compartir su foto, estamos desesperados:
 22:30:48
                        https://smsmensaje[.]mx/7430255t/
                        SMS from +525568850176: Hace 7 dias desaparecio mi hija de 8 a?os en ecatepec, por
 2016-02-11
                        favor ayudame a compartir su foto, estamos desesperados:
 22:32:15
                        https://smsmensaje[.]mx/7430255t/
 2016-02-11             SMS from +525568850176: Perdon en el sms anterior no se veia la foto, la reenvio, por
 23:58:10               favor compartela queremos a nuestra ni?a de vuelta: https://smsmensaje[.]mx/7430255t/
 2016-02-15             SMS from +525547311580: Vinieron unas personas a extorsionarnos si no les dabamos
 04:02:23               100mil pesos saben quienes somos tome fotos mira https://fb-accounts[.]com/1324052s/
                        SMS from +525552899427: UNOTV[.]com/ LANZA TELEVISA DESPLEGADOS EN TODOS
 2016-02-24
                        SUS MEDIOS;CRITICA POSTURA DE ORGANIZACION ARTICULO 19. VER:
 15:45:04
                        http://bit[.]ly/1SU5N7q (https://unonoticias[.]net/6809853s/)
                        SMS from +525552899427: has realizado un Retiro/Compra Tarjeta**** M.N monto
 2016-02-25
                        $3,500.00 verifica detalles de operacion: http://bit[.]ly/21jxVFW
 15:27:59
                        (https://unonoticias[.]net/2250072s/)
                        SMS from +529993190183: ARISTEGUI NOTICIAS ESTRENA SERVICIO DE SMS.
 2016-03-10
                        SUSCRIBASE Y RECIBIRA RESUMEN DE LAS NOTICIAS MAS IMPORTANTES:
 16:09:38
                        http://bit[.]ly/225VXRR (https://smsmensaje[.]mx/8807734s/)
                        SMS from +529993190183: ARISTEGUI NOTICIAS ESTRENA SERVICIO DE SMS.
 2016-03-11
                        SUSCRIBASE Y RECIBIRA RESUMEN DE LAS NOTICIAS MAS IMPORTANTES:
 16:19:14
                        https://smsmensaje[.]mx/4701759s/




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 DATE (UTC)             EVENT
                        SMS from +528120754135: ARISTEGUINOTICIASONLINE[.]mx ESTRENA SERVICIO DE
 2016-04-05
                        SMS. SUSCRIBASE Y RECIBIRA LAS NOTICIAS MAS IMPORTANTES:
 14:42:23
                        http://bit[.]ly/1q3n16a (https://smsmensaje[.]mx/7974159s/)
                        SMS from +528120953203: ARISTEGUINOTICIASONLINE[.]mx ESTRENA SERVICIO DE
 2016-04-07
                        SMS. SUSCRIBASE Y RECIBIRA LAS NOTICIAS MAS IMPORTANTES:
 20:54:12
                        https://smsmensaje[.]mx/1119786s/
                        SMS from +528120943682: ARISTEGUINOTICIASONLINE[.]mx ESTRENA SERVICIO DE
 2016-04-12
                        SMS. SUSCRIBASE Y RECIBIRA LAS NOTICIAS MAS IMPORTANTES:
 21:42:40
                        https://smsmensaje[.]mx/2365691s/
                        SMS from +525585401284: UNOTV[.]com/ CONFIRMA PGR QUE HIJO MAYOR DE
 2016-05-11
                        AMLO LLEVA 48 HRS DESAPARECIDO. DETALLES: http://bit[.]ly/1QYVKaM
 18:30:07
                        (https://unonoticias[.]net/5911276s/)
                        SMS from +528120531318: Perdon x molestarte pero hace 3 dias que no aparece mi hija
 2016-05-13
                        te agradecere que me ayudes a compartir su foto: http://bit[.]ly/1Oo7cSS
 15:19:47
                        (https://smsmensaje[.]mx/8984621s/)
 2016-06-03             SMS from +525585401299: Carmen la pagina esta intermitente, esta apareciendo este
 18:03:24               error al intentar ingresar: http://bit[.]ly/1WzrZ8T (https://smsmensaje[.]mx/9371877s/)
                        SMS from +528120990524: Eres mierda porque yo me ando cojiendo a tu pareja
 2016-06-09
                        mientras tu pendejeas y de prueba te mando esta foto: http://bit[.]ly/1rfaNHR
 19:19:10
                        (https://smsmensaje[.]mx/9449190s/)
                        SMS from +525585401299: Hace 3 dias que no aparece mi hija, estamos desesperados,
 2016-06-13
                        te agradecere que me ayudes a compartir su foto: http://bit[.]ly/235giae
 17:38:35
                        (https://smsmensaje[.]mx/1239663s/)
                        SMS from +528122090316: Buenas tardes Carmen, unicamente paso a saludarte y
 2016-06-15
                        enviarte esta nota de Proceso que es importante retomar: http://bit[.]ly/1twXSDl
 21:21:29
                        (https://smsmensaje[.]mx/1911343s/)
                        SMS from +529993190053: UNOTV[.]com/ REVELAN VIDEO DONDE CRISTIANO
 2016-06-22
                        RONALDO SE ENFADA Y AVIENTA MICROFONO DE REPORTERO. VIDEO EN:
 21:35:59
                        https://unonoticias[.]net/2068822s/
                        SMS from +528120696998: UNOTV[.]com/ ATENTADO TERRORISTA EN ESTAMBUL
 2016-06-28
                        DEJA 30 MUERTOS/SECUESTRAN REPORTERO DE TELEVISA/FALLECE CHACHITA
 21:32:09
                        http://bit[.]ly/295RNq7 (https://smsmensaje[.]mx/1656017s/)
 2016-07-01             SMS from +528122090348: UNOTV[.]com/ CARMEN ARISTEGUI YA FIRMO CONTRATO
 16:45:44               PARA REGRESAR A LA RADIO. DETALLES: https://unonoticias[.]net/3423165s/
                        SMS from +528121050415: UNOTV[.]com/ AMARILLISMO DE ARISTEGUI VS
 2016-07-04
                        REALIDAD/ VAN 30 DETENIDOS EN ATENTADO DE ESTAMBUL/ CHILE CAMPEON
 20:32:34
                        http://bit[.]ly/29eWzzv (https://unonoticias[.]net/9436744s/)
 2016-07-05
                        SMS from +525536438524: https://fb-accounts[.]com/2102272t/
 18:42:59
                        SMS from +528122090257: Hace 5 dias q no aparece mi hija te agradecere mucho q
 2016-07-06
                        compartan su foto, estamos destrozados es un infierno: http://bit[.]ly/29rnk6c
 21:56:08
                        (https://smsmensaje[.]mx/7960742s/)
                        SMS from +528120697015: UNOTV[.]com/ FILMAN A REPORTERO Y PERIODISTA
 2016-07-12
                        CUANDO SON LEVANTADOS POR COMANDO ARMADO EN TAMAULIPAS. VIDEO:
 21:20:25
                        https://unonoticias[.]net/1887451s/
                        SMS from +528122090358: ESTIMADO USUARIO ha realizado un Retiro/Compra Tarjeta
 2016-07-14
                        M.N de ****** el 14/07/16 10:52:00 AM. Ver DETALLES: https://banca-
 20:29:40
                        movil[.]com/4982255s/
 2016-07-15             SMS from +528122090286: Mi rey te mando mis fotos encueradita y abiertita asi como te
 23:56:16               gusta, las ves y las borras eh: http://bit[.]ly/29IQvyh (https://smsmensaje[.]mx/3376811s/)
 2016-07-18             SMS from +523319983437: Hola oye abriste nuevo facebook? Me llego una solicitud de
 17:50:57               un face con tus fotos pero con otro nombre mira: https://fb-accounts[.]com/1607422s/




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     DATE (UTC)         EVENT
                        SMS from +528113788852: Hola buen martes. Oye que pedo con el puto Lopez Doriga?
     2016-07-19
                        Mira lo que escribio sobre ti hoy, urge desmentirlo: http://bit[.]ly/29LfZfD
     17:55:54
                        (https://smsmensaje[.]mx/9093723s/)
     2016-07-22         SMS from +525576169290: Estimado cliente Unefon te informa su saldo vencido al de la
     21:33:26           lInea 5539290869, es por $4,278. DETALLES: https://ideas-telcel[.]com[.]mx/4729605s/
     2016-07-23         SMS from +525576169290: Amigo,hay una pseudo cuenta de fb y twitter identica a la
     17:51:28           tuya checala para que la denuncies mira checala: https://fb-accounts[.]com/9543697s/
                        SMS from +528122090359: Bienvenido Club CHICAS CALIENTES, se ha aplicado un
     2016-07-25
                        cargo de $875.85 a su linea, si desea cancelar ingrese a: http://bit[.]ly/2a0hZ2I
     21:01:24
                        (https://smsmensaje[.]mx/6881768s/)
                        SMS from +528120990542: UNOTV[.]com/ VIRAL EL VIDEO DE FUERTE GOLPE QUE
     2016-07-28
                        RECIBE EN LA CARA OSORIO CHONG PROPINADO POR MAESTRO. VIDEO:
     22:47:46
                        https://unonoticias[.]net/6328951s/



FORENSIC TRACES FOR MXJRN3
No timestamps are available as these SMS messages were found in previous screenshots.

     DATE
                 EVENT
     (UTC)
                 SMS from +523332078807: Buenas noches Sandra, unicamente paso a saludarte y enviarte
                 esta nota de Proceso que es importante retomar: http://bit[.]ly/25JHLDm
                 (https://smsmensaje[.]mx/5727775s/)
                 SMS from +525546613611: Sandra amiga acaba de morir mi esposo, estamos devastadas, te
                 envio los datos del velatorio espero asistas: http://bit[.]ly/28hMScw
                 (https://smsmensaje[.]mx/6050864s/)
                 SMS from +524446613611: Hace 3 dias quo no aparence mi hija, estamos desesperados, te
                 agradecere que me ayudes a compartit su foto: http://bit[.]ly/235hzhv
                 (https://smsmensaje[.]mx/4159043s/)
                 SMS from +518122090332: Sandra, mi mama esta muy grave, tal vez no pase la noche te
                 envio datos de donde esta internada ojala vengas: http://bit[.]ly/1PQsLvX
                 (https://smsmensaje[.]mx/6395084s/)



FORENSIC TRACES FOR MXJRN4
This Pegasus attack message was original discovered and published as part of collaborative investigation
between Citizen Lab29, R3D30, SocialTic and Article 19.

     DATE (UTC)          EVENT
     2016-05-12           SMS from + 528112889362: Tengo pruebas clave y fidedignas en contra de servidores
     19:06:04            publicos, ayudame tiene que ver con este asunto http://bit[.]ly/1s2eguc (https://secure-
                         access10[.]mx/2618844s/)




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  John Scott-Railton and others, Reckless Exploit: Mexican Journalists, Lawyers, and a Child Targeted with NSO Spyware, Citizen Lab, 19
June 2017, citizenlab.ca/2017/06/reckless-exploit-mexico-nso.
30
  Article 19 and others, Gobierno Espía: Vigilancia sistemática a periodistas y defensores de derechos humanos en México, June 2017,
r3d.mx/wp-content/uploads/GOBIERNO-ESPIA-2017.pdf.




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FORENSIC TRACES FOR RWHRD1 – CARINE KANIMBA
      DATE (UTC)                   EVENT
      2020-11-24 13:26:03          Process record deleted from ZPROCESS (IN: 12.86 MB, OUT: 168.99 MB)
      2021-01-28 22:42:56          Process: Diagnosticd
      2021-01-31 18:28:39          Process: dhcp4d
      2021-01-31 23:59:02          Process: libtouchregd
      2021-02-02 13:54:23          Process: MobileSMSd
      2021-02-13 19:44:12          Process: vm_stats
      2021-02-21 23:10:09          Process: launchrexd
      2021-02-21 23:10:09          Process: mptbd
      2021-02-22 15:39:00          Process: PDPDialogs
      2021-03-16 13:33:22          Process: neagentd
      2021-03-17 15:27:06          Process: CommsCenterRootHelper
      2021-03-21 06:06:45          Process: roleaboutd
      2021-03-23 17:37:31          Process: contextstoremgrd
      2021-03-28 00:36:43          Process: otpgrefd
      2021-03-31 13:57:01          Process: vm_stats
      2021-04-06 21:29:56          Process: locserviced
      2021-04-09 19:09:18          Process: bluetoothfs
      2021-04-23 01:48:56          Process: eventfssd
      2021-04-23 20:43:14          Process: com.apple.Mappit.SnapshotService
      2021-04-23 23:01:44          Process: aggregatenotd
      2021-04-24 22:01:47          Process: ReminderIntentsUIExtension
      2021-04-24 22:01:54          Process: ReminderIntentsUIExtension
      2021-04-28 13:34:53          Process: com.apple.rapports.events
      2021-04-28 13:34:57          Process: com.apple.rapports.events (IN: 0.01 MB, OUT: 0.00 MB)
      2021-04-28 13:34:57          Process: com.apple.rapports.events
      2021-04-28 13:35:40          Process: com.apple.rapports.events
      2021-04-28 16:08:40          Process: xpccfd
      2021-05-03 08:07:38          Traces from zero-click attack attempt over iMessage
      2021-05-08 07:28:40          Traces from zero-click attack attempt over iMessage
      2021-05-16 12:30:10          Traces from zero-click attack attempt over iMessage
      2021-05-17 13:39:16          iMessage lookup for account benjiburns8[@]gmail.com
      2021-05-17 13:40:12          Traces from zero-click attack attempt over iMessage
      2021-06-14 00:06:00          Attack related push notifications over iMessage
      2021-06-14 00:09:33          Process crash detected
      2021-06-14 00:12:57          Process: com.apple.rapports.events
      2021-06-14 00:17:12          Process: faskeepd
      2021-06-14 00:17:12          Process: lobbrogd
      2021-06-14 00:17:12          Process: neagentd
      2021-06-14 00:17:12          Process: com.apple.rapports.events
      2021-06-14 17:38:44          Process: faskeepd
      2021-06-14 17:38:44          Process: lobbrogd




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      DATE (UTC)                   EVENT
      2021-06-14 17:38:44          Process: neagentd
      2021-06-14 17:39:59          Process: faskeepd
      2021-06-14 17:39:59          Process: lobbrogd
      2021-06-14 17:39:59          Process: neagentd
      2021-06-15 18:26:22          Process: faskeepd
      2021-06-15 18:26:22          Process: lobbrogd
      2021-06-15 18:26:22          Process: neagentd
      2021-06-15 18:28:16          Process: faskeepd
      2021-06-15 18:28:16          Process: lobbrogd
      2021-06-15 18:28:16          Process: neagentd
      2021-06-15 18:30:12          Process: faskeepd
      2021-06-15 18:30:12          Process: lobbrogd
      2021-06-15 18:30:12          Process: neagentd
      2021-06-16 00:04:37          Process: faskeepd
      2021-06-16 00:04:37          Process: lobbrogd
      2021-06-16 00:04:37          Process: neagentd
      2021-06-16 18:49:50          Process: faskeepd
      2021-06-16 18:49:50          Process: lobbrogd
      2021-06-16 18:49:50          Process: neagentd
      2021-06-16 21:54:15          Process: faskeepd
      2021-06-16 21:54:15          Process: lobbrogd
      2021-06-16 21:54:15          Process: neagentd
      2021-06-18 08:13:35          Process: faskeepd
      2021-06-18 15:21:00          Attack related push notifications over iMessage
      2021-06-18 15:26:04          Process crash detected
      2021-06-18 15:26:08          Process: com.apple.Mappit.SnapshotService
      2021-06-18 15:26:16          Process: com.apple.Mappit.SnapshotService
      2021-06-18 15:31:12          Process: launchrexd
      2021-06-18 15:31:12          Process: frtipd
      2021-06-18 15:31:12          Process: ReminderIntentsUIExtension
      2021-06-19 16:00:16          Process: launchrexd
      2021-06-19 16:00:16          Process: frtipd
      2021-06-19 16:00:16          Process: ReminderIntentsUIExtension
      2021-06-20 00:06:25          Process: launchrexd
      2021-06-20 00:06:25          Process: frtipd
      2021-06-20 00:06:25          Process: ReminderIntentsUIExtension
      2021-06-20 19:52:25          Process: launchrexd
      2021-06-20 19:52:25          Process: frtipd
      2021-06-20 19:52:26          Process: ReminderIntentsUIExtension
      2021-06-20 19:53:58          Process: launchrexd
      2021-06-20 19:53:58          Process: frtipd
      2021-06-20 19:53:58          Process: ReminderIntentsUIExtension
      2021-06-22 03:57:10          Process: launchrexd



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      DATE (UTC)                   EVENT
      2021-06-22 03:57:10          Process: frtipd
      2021-06-22 03:57:10          Process: ReminderIntentsUIExtension
      2021-06-22 04:06:51          Process: launchrexd
      2021-06-22 04:06:51          Process: frtipd
      2021-06-22 04:06:51          Process: ReminderIntentsUIExtension
      2021-06-23 00:01:02          Process: launchrexd
      2021-06-23 00:01:02          Process: frtipd
      2021-06-23 00:01:02          Process: ReminderIntentsUIExtension
      2021-06-23 14:31:39          Process: launchrexd
      2021-06-23 20:46:00          Attack related push notifications over iMessage
      2021-06-23 20:48:56          Process crash detected
      2021-06-23 20:54:16          Process crash detected
      2021-06-23 20:55:10          Process: otpgrefd
      2021-06-23 20:59:35          Process: otpgrefd
      2021-06-23 20:59:35          Process: launchafd
      2021-06-23 20:59:35          Process: vm_stats
      2021-06-23 22:21:13          Attack artifact on disk: /private/var/tmp/vditcfwheovjf/cc/otpgrefd/
      2021-06-24 12:16:22          Process: otpgrefd
      2021-06-24 12:16:22          Process: launchafd
      2021-06-24 12:16:22          Process: vm_stats
      2021-06-24 12:24:29          Process: otpgrefd
      2021-06-26 21:56:00          Attack related push notifications over iMessage
      2021-06-26 23:25:32          Process: smmsgingd
      2021-06-29 22:26:00          Attack related push notifications over iMessage
      2021-06-29 22:30:46          Process crash detected
      2021-06-29 22:36:01          Process: launchafd
      2021-06-29 22:36:01          Process: otpgrefd
      2021-06-29 22:36:01          Process: dhcp4d
      2021-06-29 22:36:01          Process: ctrlfs
      2021-06-30 00:09:19          Process: launchafd
      2021-06-30 00:09:19          Process: otpgrefd
      2021-06-30 00:09:19          Process: dhcp4d
      2021-07-01 00:09:32          Process: launchafd
      2021-07-01 00:09:32          Process: otpgrefd
      2021-07-01 00:09:32          Process: dhcp4d
      2021-07-01 12:16:43          Process: launchafd
      2021-07-01 12:16:43          Process: otpgrefd
      2021-07-01 12:16:43          Process: dhcp4d
      2021-07-01 21:42:19          Process: launchafd
      2021-07-03 06:06:37          iMessage lookup for account benjiburns8[@]gmail.com
      2021-07-03 06:07:00          Attack related push notifications over iMessage
      2021-07-03 06:22:16          Process crash detected
      2021-07-03 06:32:56          Process: actmanaged



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      DATE (UTC)                   EVENT
      2021-07-03 06:32:56          Process: misbrigd
      2021-07-03 06:32:56          Process: Diagnostics-2543
      2021-07-03 06:32:56          Process: gssdp
      2021-07-03 15:23:18          Process: actmanaged




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  NSO Group claims that its Pegasus spyware is only used to “investigate
  terrorism and crime” and “leaves no traces whatsoever”. This Forensic
  Methodology Report shows that neither of these statements are true. This
  report accompanies the release of the Pegasus Project, a collaborative
  investigation that involves more than 80 journalists from 17 media
  organizations in 10 countries coordinated by Forbidden Stories with technical
  support of Amnesty International’s Security Lab.

  Amnesty International’s Security Lab has performed in-depth forensic
  analysis of numerous mobile devices from human rights defenders (HRDs)
  and journalists around the world. This research has uncovered widespread,
  persistent and ongoing unlawful surveillance and human rights abuses
  perpetrated using NSO Group’s Pegasus spyware.




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